                      Exhibit A
Compendium of Selected Confirmation Hearing Testimony
         Transcript of
In Re: BOY SCOUTS OF AMERICA
   and DELAWARE BSA, LLC
        March 28, 2022
IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                          ,

 ·1· · ·UNITED STATES BANKRUPTCY COURT

 ·2· · · · · DISTRICT OF DELAWARE

 ·3· ·IN RE:· · · · · · · · · · · : CHAPTER 11

 ·4· ·BOY SCOUTS OF AMERICA AND· ·: CASE NO.

 ·5· ·DELAWARE BSA, LLC,· · · · · : 20-10343 (LSS)

 ·6· · · · · · ·Debtors.· · · · · : (Jointly Administered)

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 10· · · · · · · · · · Chapter 11

 11· · · · · · · Case No. 20-10343 (LSDD)

 12· · · · · · · ·824 North Market Street

 13· · · · · · ·Wilmington, Delaware 19801

 14

 15· ·Monday, March 28, 2022

 16· ·10:00 a.m.

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 18· ·TRANSCRIPT OF BOYS SCOUTS OF AMERICA

 19· ·BEFORE THE HONORABLE LAURIE SILBER SILVERSTEIN

 20· ·UNITED STATES BANKRUPTCY JUDGE

 21

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 24· ·REPORTED STENOGRAPHICALLY BY:

 25· ·Jennifer Billstein-Miller, RMR, CRR, CCR-NJ and
 · · ·Notary Public


                                                    Reliable Court Reporting
IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
                                              Page 262                                                 Page 264
·1· ·along with the Certain Insurers'                    ·1· ·to is that, with respect to witnesses
·2· ·designations, what you'll see also include          ·2· ·whose deposition designations will be
·3· ·all counterdesignations.                            ·3· ·played for the Court during this process
·4· · · · · · ·THE COURT:· Okay.                         ·4· ·of the insurers' case in chief, that that
·5· · · · · · ·MR. DOREN:· Third, there have             ·5· ·is a full set of the designations and that
·6· ·been a number of proofs of claims that              ·6· ·it may be smaller and, in many cases, is
·7· ·were used as exhibits in the depositions.           ·7· ·smaller than what was submitted to
·8· · · · · · ·In most cases, those documents            ·8· ·the Court in writing.
·9· ·are not necessary to understand the                 ·9· · · · · · ·MR. DOREN:· Thank you, sir. I
10· ·testimony.· So we did not put them up on            10· ·agree with that.
11· ·the screen, you'll see.· In the few                 11· · · · · · ·MR. MOXLEY:· Thank you.
12· ·instances where we may be using the                 12· · · · · · ·MR. DOREN:· So, in other words,
13· ·documents, any personal identifying                 13· ·Your Honor, what you're seeing on video is
14· ·information has been redacted.                      14· ·what you'll be seeing from these
15· · · · · · ·In that same vein, there are a            15· ·witnesses.· And there will be no other
16· ·few instances where the witness referred            16· ·designations that you'll have to read in
17· ·to a claimant by name.· And we haven't              17· ·transcript form.
18· ·beeped that out, but we have deleted the            18· · · · · · ·THE COURT:· Okay.· Great.
19· ·audio.· So you may see lips moving and no           19· · · · · · ·MR. DOREN:· The first witness
20· ·words.· That is when someone's name is              20· ·will be Dr. John Conte.· Dr. Conte is a
21· ·being uttered.                                      21· ·professor emeritus at the University of
22· · · · · · ·And then, lastly, all of these            22· ·Washington.· He was proffered as an expert
23· ·depositions were taken remotely, of                 23· ·witness by the TCC to opine on the
24· ·course.· So when a document was on the              24· ·characteristics of the allegations
25· ·screen, that meant that the witness' image          25· ·survivor profiles and legal issues
                                              Page 263                                                 Page 265
·1· ·shrunk and was off to one side.· Since, as          ·1· · · · presented by the proof of claims filed in
·2· ·I've suggested, we've removed a number of           ·2· · · · this bankruptcy.
·3· ·these documents, we did our best to                 ·3· · · · · · · · · Dr. Conte was deposed on
·4· ·increase the image of the witness.                  ·4· · · · February 25th, 2022.· And we now tender
·5· · · · · · ·And you'll see some moments of            ·5· · · · Dr. Conte's testimony.
·6· ·pixilation of the image of the witness              ·6· · · · · · · · · · · · · ·-· ·-· ·-
·7· ·when it goes from a smaller image that we           ·7· · · · · · · · · (Whereupon, a video clip was
·8· ·made larger because there's no longer a             ·8· · · · · ·played for the record.)
·9· ·document.· It's not an equipment                    ·9· · · · · · · · · · · · · ·-· ·-· ·-
10· ·malfunction.· It's just a technology                10· · · · Q.· ·So as we were saying from, since --
11· ·malfunction.                                        11· ·from 1990 to 2017, you were a professor in the
12· · · · · · ·And unless the Court has any              12· ·school of social work at the University of
13· ·questions, I'll now introduce our first             13· ·Washington?
14· ·witness.                                            14· · · · A.· ·Correct.
15· · · · · · ·THE COURT:· Okay.· One second.            15· · · · Q.· ·And you didn't teach any legal -- any
16· · · · · · ·Mr. Moxley.                               16· ·legal classes?
17· · · · · · ·MR. MOXLEY:· Good afternoon,              17· · · · A.· ·No.· I taught ethics, and some
18· ·Your Honor.· Cameron Moxley of Brown                18· ·professional ethics have a basis in the law.
19· ·Rudnick on behalf of the coalition.                 19· · · · · · · · · I mean, the duty to report child
20· · · · · · ·I'd just like to flag for                 20· ·abuse and neglect, the duty called Tarasoff to
21· ·the Court -- and I believe Mr. Doren can            21· ·report when a client is danger to someone else,
22· ·correct me if I misstate anything here.             22· ·recordkeeping, and that kind of thing.
23· ·But when he referenced that this includes           23· · · · · · · · · So there are some ethics that
24· ·designations plus counterdesignations,              24· ·incorporate legal concepts, but I have
25· ·what the parties, I believe, have agreed            25· ·certainly never taught a course directly on the


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
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·1· ·law or on legal concepts.                           ·1· ·way to test that is in a defense case because
·2· · · · · · · · · I've done professional workshops     ·2· ·I've worked with so many victims.
·3· ·on ethics and ethical decision-making, which        ·3· · · · · · · · · And, you know, to be frank, I've
·4· ·has included some legal principles.· But I          ·4· ·devoted my career to understanding sexual
·5· ·don't represent myself as an expert on the law      ·5· ·abuse.
·6· ·but rather the extent to which the law touches      ·6· · · · · · · · · Early in my career, I did
·7· ·on practice issues.                                 ·7· ·prevention research.· I'm doing prevention
·8· · · · Q.· ·Now, the next section we have in your     ·8· ·again.
·9· ·CV is testimony, and this goes on for some          ·9· · · · · · · · · But in a forensic matter, I have
10· ·pages -- many pages.                                10· ·to be very careful not to be an advocate,
11· · · · · · · · · It describes case after case         11· ·because my real client is the trier of fact.
12· ·here.· If you'd like, I can I scroll through        12· ·So I like defense cases.· I think sometimes
13· ·them.· And we're going to ask questions about       13· ·defense attorneys I may drive a little crazy
14· ·each one.· I'm just kidding.· We have --            14· ·because I do bend over backwards to be
15· · · · A.· ·Oh, my heart.                             15· ·completely objective.
16· · · · Q.· ·So is it fair to say you've evaluated     16· · · · · · · · · So that's why I like them.· I'd
17· ·thousands of survivors of sexual abuse in your      17· ·like to do more, but I just don't get asked.
18· ·professional career?                                18· · · · Q.· ·So what materials did you review in
19· · · · A.· ·That is fair.                             19· ·preparing your ability to compare the lists
20· · · · Q.· ·And in these -- is your role -- in        20· ·provided to you with the pool of claims in the
21· ·most of the cases that I just scrolled through,     21· ·bankruptcy?
22· ·did you have a similar role in those cases?         22· · · · A.· ·Nothing.· I was not asked to do that.
23· · · · A.· ·Yes, primarily to evaluate the            23· · · · Q.· ·Okay.· Did you review any proofs of
24· ·individual who has alleged harm or damage from,     24· ·claims that -- I know you were involved in
25· ·usually, sexual abuse.· Once in a rare while,       25· ·reviewing the proof of claim form.
                                              Page 267                                                 Page 269
·1· ·it might be something like adult rape or some       ·1· · · · · · · · · Did you review any completed
·2· ·kind of other traumatic event, but mostly           ·2· ·proofs of claims?
·3· ·sexual abuse.                                       ·3· · · · A.· ·No.
·4· · · · Q.· ·Am I right that your report said you      ·4· · · · Q.· ·Okay.· And I'm guessing you didn't
·5· ·mostly represent the plaintiff side in these        ·5· ·conduct any forensic assessments of any of the
·6· ·matters?                                            ·6· ·claimants in the Boy Scouts bankruptcy, to your
·7· · · · A.· ·Typically, that's who seems to ask,       ·7· ·knowledge?
·8· ·yes.                                                ·8· · · · A.· ·I said you're correct.
·9· · · · Q.· ·What percentage, roughly, would you       ·9· · · · Q.· ·Okay.· Okay.· And you have not done
10· ·say you've represented the defendant side?          10· ·any work to evaluate the legal defenses in any
11· · · · A.· ·Again, very small.· 1 percent maybe.      11· ·of the claims in the bankruptcy?
12· ·It could be less than 1 percent.· It's -- I         12· · · · A.· ·You're correct.
13· ·don't get asked very often.· I love it when I       13· · · · Q.· ·Okay.· So is it fair to say that your
14· ·am asked, but I just don't get asked very           14· ·comparison analysis is based on your general
15· ·often.                                              15· ·understanding of claims that have been filed in
16· · · · Q.· ·What do you love about it?                16· ·the past against the Boy Scouts for sex abuse?
17· · · · A.· ·You know, it's a -- this is a             17· · · · A.· ·And other cases.· That's correct.
18· ·personal feeling I have.                            18· · · · Q.· ·Okay.· Well, when -- I'm talking
19· · · · · · · · · If I catch myself thinking           19· ·about the ability to say this pool is similar
20· ·something in a defense case that I wouldn't         20· ·to the Boy Scouts.
21· ·think in another case, then I have identified a     21· · · · · · · · · The part of that equation that
22· ·potential bias.                                     22· ·relates to the Boy Scouts is based on your
23· · · · · · · · · And my job as an expert is, as       23· ·general understanding of claims against the
24· ·much as possible, to be aware of biases that        24· ·Boy Scouts in the past?
25· ·may unduly influence my opinion.· And the best      25· · · · A.· ·Well, I did not -- I make no


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                                                                                                             ,
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·1· ·judgment.· I had access to no data about the        ·1· ·who has devoted almost four decades working
·2· ·pool.                                               ·2· ·with and on behalf of victims, I think some
·3· · · · Q.· ·Okay.· Did you --                         ·3· ·attorneys who have advertised for clients have
·4· · · · A.· ·All I -- I'm sorry.                       ·4· ·contributed to this avalanche of cases.· And
·5· · · · Q.· ·No.· Please continue.                     ·5· ·the problem is the truly victimized claimant is
·6· · · · A.· ·All I have is the -- and all I was        ·6· ·put at a disadvantage by the way this has been
·7· ·asked to do was to review the included and          ·7· ·handled.
·8· ·excluded classifications to determine, based on     ·8· · · · · · · · · And just to be completely honest
·9· ·my experience, if they were appropriately           ·9· ·with you, I find it extremely distasteful.· And
10· ·classified.                                         10· ·it makes me angry that people who are really
11· · · · · · · · · Whether they represent the total     11· ·deserving are going to end up being hurt by
12· ·pool, which is a validity question, I was not       12· ·this whole process.
13· ·asked to address, and I have no information to      13· · · · Q.· ·And you know, Dr. Conte, that
14· ·address that question.                              14· ·Dr. Treacy actually addressed that very issue
15· · · · Q.· ·Good morning, Dr. Conte, my name is       15· ·and concern in her report?
16· ·Peg Warner.· I represent Allianz, the insurance     16· · · · A.· ·She did, but she provided no data.
17· ·company in this matter.· And I'm with the law       17· ·For example, she said secondary gain is a major
18· ·firm of McDermott Will & Emery.                     18· ·issue.· Well, of course.· Secondary gain is
19· · · · A.· ·Nice to meet you.                         19· ·always an issue.
20· · · · Q.· ·At the time that you wrote your           20· · · · · · · · · She provides no method to
21· ·January 5, 2022, rebuttal of Dr. Treacy's           21· ·identify those cases in which secondary gain
22· ·report, what did you know with regard to the        22· ·or, frankly, fraud is being perpetrated.
23· ·number of sexual abuse claims that have been        23· · · · · · · · · And -- the application of
24· ·made against the Boy Scouts in this bankruptcy      24· ·knowledge from children to adults doesn't help
25· ·proceeding?                                         25· ·it at all.
                                              Page 271                                                 Page 273
·1· · · · A.· ·That there were over 80,000 claims.       ·1· · · · Q.· ·Dr. Conte, my name is Mitch Karlan,
·2· · · · Q.· ·How about before the bankruptcy?          ·2· ·and I represent AIG.· I just have a few
·3· ·What is your knowledge of the number of sexual      ·3· ·questions.· I know you have a time deadline.
·4· ·abuse claims against the Boy Scouts prior to        ·4· · · · A.· ·Nice to meet you.
·5· ·the bankruptcy proceeding?                          ·5· · · · Q.· ·I want to ask you some questions
·6· · · · A.· ·I don't know specifically.                ·6· ·about any facts or assumptions or data that
·7· · · · Q.· ·Did you ever try to find out?             ·7· ·Mr. Kornfeld provided to you in connection with
·8· · · · A.· ·No.                                       ·8· ·your work on this case.
·9· · · · Q.· ·There were less than 2,000 claims         ·9· · · · · · · · · Did you tell him that you
10· ·made against the Boy Scouts prior to the            10· ·concluded that a substantial number of the
11· ·bankruptcy, and now there are 80,000.               11· ·82,000 were fraudulent?
12· · · · · · · · · Did you form an opinion about        12· · · · A.· ·I'm sure I did.· I don't recall
13· ·the circumstances that might cause that             13· ·specifically, but I know I mentioned that in
14· ·differential?                                       14· ·the development of the proof of claim form.
15· · · · A.· ·Yes.                                      15· ·And that's been my opinion, and I've not been
16· · · · Q.· ·What is your opinion?                     16· ·reluctant to share it.
17· · · · A.· ·Well, just to be -- you asked me a        17· · · · · · · · · So I don't recall specifically,
18· ·question.· I'm under oath, so I'm going to          18· ·but I'm sure I did.
19· ·answer.                                             19· · · · · · · · · · · · · ·-· ·-· ·-
20· · · · · · · · · I think a significant portion of     20· · · · · · · · · ·(Whereupon, the video clip
21· ·that 80,000 are probably not real claims. I         21· · · · · · · · · · ·concluded.)
22· ·believe that the claimants who really were          22· · · · · · · · · · · · · ·-· ·-· ·-
23· ·abused and, in this case, your client have an       23· · · · · · · · · MR. DOREN:· Your Honor, our next
24· ·identical interest, which is the false claims.      24· · · · witness is Mr. Adam Slater.
25· · · · · · · · · I think personally, as somebody      25· · · · · · · · · Mr. Slater is a partner at


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         Transcript of
In Re: BOY SCOUTS OF AMERICA
   and DELAWARE BSA, LLC
        March 29, 2022
IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                          ,

 ·1· · ·UNITED STATES BANKRUPTCY COURT

 ·2· · · · · DISTRICT OF DELAWARE

 ·3· ·IN RE:· · · · · · · · · · · : CHAPTER 11

 ·4· ·BOY SCOUTS OF AMERICA AND· ·: CASE NO.

 ·5· ·DELAWARE BSA, LLC,· · · · · : 20-10343 (LSS)

 ·6· · · · · · ·Debtors.· · · · · : (Jointly Administered)

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 10· · · · · · · · · · Chapter 11

 11· · · · · · · Case No. 20-10343 (LSDD)

 12· · · · · · · ·824 North Market Street

 13· · · · · · ·Wilmington, Delaware 19801

 14

 15· ·Monday, March 29, 2022

 16· ·10:00 a.m.

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 18· ·TRANSCRIPT OF BOYS SCOUTS OF AMERICA

 19· ·BEFORE THE HONORABLE LAURIE SILBER SILVERSTEIN

 20· ·UNITED STATES BANKRUPTCY JUDGE

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 24· ·REPORTED STENOGRAPHICALLY BY:

 25· ·Jennifer Billstein-Miller, RMR, CRR, CCR-NJ and
 · · ·Notary Public


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
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·1· · · · · · ·MS. WARNER:· Your Honor, if we            ·1· · · · A.· ·No.
·2· ·could have just a couple minutes to switch          ·2· · · · Q.· ·Do you have any materials before you
·3· ·out folks if we're putting up Dr. Treacy.           ·3· ·related to this case?
·4· · · · · · ·THE COURT:· Yes.                          ·4· · · · A.· ·No.
·5· · · · · · ·MR. DOREN:· Your Honor, just by           ·5· · · · Q.· ·Can you please provide the Court with
·6· ·way of introduction, I will say that the            ·6· ·your education?
·7· ·next witness being call by the Certain              ·7· · · · A.· ·I went to Herbert H. Lehman College
·8· ·Insurers is Dr. Eileen Treacy, and the              ·8· ·in the Bronx, which is part of the City
·9· ·examination is being handled by Ms. Peg             ·9· ·University of New York, and graduated with a
10· ·Warner.                                             10· ·degree in psychology.
11· · · · · · ·THE COURT:· Okay.· Do we need             11· · · · · · · · · I went on for the master's
12· ·five minutes, or are we good?                       12· ·degree in psychology at the New School for
13· · · · · · ·THE WITNESS:· I think I'm here.           13· ·Social Research.· And then I went on for the
14· · · · · · ·MS. WARNER:· The witness and              14· ·PhD in psychology at Fordham University in a
15· ·counsel are ready to go.                            15· ·specialization in what's called applied
16· · · · · · ·THE COURT:· Okay.· I need to              16· ·developmental technology.
17· ·swear you in.                                       17· · · · Q.· ·What is applied developmental
18· · · · · · ·Is it Dr. Treacy?                         18· ·psychology?
19· · · · · · ·THE WITNESS:· It is.                      19· · · · A.· ·I have to define "developmental"
20· · · · · · ·THE COURT:· Okay.· Dr. Treacy,            20· ·first.
21· ·can you raise your right hand, please.              21· · · · · · · · · Developmental psychology is the
22· · · · · · ·Do you affirm your word that you          22· ·study of growth and change through the
23· ·will tell the truth, the whole truth, and           23· ·lifespan.· So it examines normative
24· ·nothing but the truth to the best of your           24· ·development, but it also examines when
25· ·knowledge and ability?                              25· ·development gets thrown off course by trauma or
                                              Page 183                                                 Page 185
·1· · · · · · · · · THE WITNESS:· I do.                  ·1· ·by disability.
·2· · · · · · · · · THE COURT:· Please state your        ·2· · · · · · · · · Applied developmental is when
·3· · · · full name and spell your last name for the     ·3· ·you try to take all of that stuff from the
·4· · · · record.                                        ·4· ·research labs and from the librairies and
·5· · · · · · · · · THE WITNESS:· My name is             ·5· ·actually apply it in real-life people.
·6· · · · Dr. Eileen Treacy, T-R-E-A-C-Y.                ·6· · · · Q.· ·Dr. Treacy, have you received any
·7· · · · · · · · · THE COURT:· Thank you.               ·7· ·additional training beyond your education?
·8· · · · · · · · · Ms. Warner.                          ·8· · · · A.· ·Yes, I have.
·9· · · · · · · · · MS. WARNER:· May I proceed,          ·9· · · · Q.· ·And what is it?
10· · · · Your Honor?                                    10· · · · A.· ·I have been trained by law
11· · · · · · · · · THE COURT:· You may.                 11· ·enforcement in sex crimes investigations, both
12· · · · · · · · · · · -· ·-· ·-                        12· ·for adults and children.· I've been trained by
13· · · · · · · · E X A M I N A T I O N                  13· ·the FBI, by the New York City Police
14· · · · · · · · · · · -· ·-· ·-                        14· ·Department, and New York State Police.
15· ·BY MS. WARNER:                                      15· · · · Q.· ·And what was that training about,
16· · · · Q.· ·Good afternoon.· I'm Peg Warner.· I'm     16· ·generally?
17· ·from the law firm of McDermott Will & Emery. I      17· · · · A.· ·Sex crimes investigation, both sexual
18· ·represent the Allianz Global Risk US Insurance      18· ·assault and sexual abuse cases, both involving
19· ·Company, and today I'm presenting the witness       19· ·children and adults.
20· ·on behalf of Certain Insurers.                      20· · · · · · · · · The FBI school was a weeklong
21· · · · · · · · · Where are you?                       21· ·school.· The other schools have been -- they're
22· · · · A.· ·I am in Freehold, New York, which is      22· ·annual.· I actually am participating in one of
23· ·upstate in the Catskills.                           23· ·them.· I'm training tomorrow with the New York
24· · · · Q.· ·Is there anyone in the room with you,     24· ·State Police.
25· ·ma'am?                                              25· · · · Q.· ·Can you describe your professional


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
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·1· ·life briefly?                                       ·1· ·called "New York State Forensic Interviewing
·2· · · · A.· ·Sure.· When I got out of college, I       ·2· ·Best Practices for Vulnerable Populations."
·3· ·was an early childhood teacher in the               ·3· ·That was specifically designed for the New York
·4· ·South Bronx while going for my master's degree      ·4· ·State Justice Center for the protection of
·5· ·at night.                                           ·5· ·people with special needs.· So it was trying to
·6· · · · · · · · · The next job that I had was as       ·6· ·apply the forensic interviewing techniques
·7· ·the project coordinator of the victim treatment     ·7· ·dealing with special needs populations.
·8· ·and research clinic, and that was at Columbia       ·8· · · · Q.· ·Have you held any teaching positions?
·9· ·University's College of Physicians and              ·9· · · · A.· ·Yes.· I taught at Lehman College for
10· ·Surgeons.                                           10· ·33 years part-time in the psychology
11· · · · · · · · · That was one of the first grants     11· ·department.· I was also in the graduate
12· ·from the National Institute of Mental Health to     12· ·department of guidance and counseling.
13· ·study the long-term effects of sexual abuse and     13· · · · Q.· ·Now, you mentioned earlier that you
14· ·assault on women's lives.· So we had a victim       14· ·are on the faculty of the New York State
15· ·group of 400 women, and we had a control group      15· ·forensic interviewing best practices.
16· ·of 200 nonvictims in that research.                 16· · · · · · · · · Can you tell us a little bit
17· · · · · · · · · From there, I came back into the     17· ·about that.
18· ·community and accepted a position as the            18· · · · A.· ·Sure.· That's actually one of my baby
19· ·executive director of a very large multiservice     19· ·projects that I'm very proud about.
20· ·center in the Northwest Bronx.· We ran programs     20· · · · · · · · · In New York, we have what's
21· ·from preschool programs, head start, up to          21· ·called the Children Justice Task Force.· The
22· ·senior citizens programming, all kinds of youth     22· ·governor appoints people to this task force,
23· ·programming.· And it was there that I developed     23· ·multidisciplinary.
24· ·and implemented the child sexual abuse              24· · · · · · · · · From that, it was developed that
25· ·counseling and prevention program that covered      25· ·New York State needed to have a uniform
                                              Page 187                                                 Page 189
·1· ·all of Bronx County for children.                   ·1· ·protocol on how child cases, child sexual abuse
·2· · · · · · · · · Eventually, we got to the            ·2· ·and severe physical abuse cases, were handled
·3· ·point -- it started out just with teenagers,        ·3· ·because it was catch-as-catch-can.· You know,
·4· ·adolescents.· And eventually I got enough money     ·4· ·where you lived is whether or not you got
·5· ·that we were able to run the programming from       ·5· ·justice.
·6· ·preschoolers all the way up to children 18 to       ·6· · · · · · · · · So we started writing this in
·7· ·20 years of age.                                    ·7· ·2000.· We finished writing it in 2002.· We
·8· · · · Q.· ·Have you authored any publications?       ·8· ·then -- and "we," I mean, it was a steering
·9· · · · A.· ·Yes.· There are two papers that came      ·9· ·committee of about ten of us from four
10· ·out of the Columbia work, which I just              10· ·disciplines, medical -- I'm sorry -- not
11· ·mentioned.                                          11· ·medical -- mental health, law -- law
12· · · · · · · · · One was on sexual dysfunctions       12· ·enforcement and CPS, child protective services.
13· ·as a long-term consequence of sexual abuse and      13· · · · · · · · · And we, then, spent a year
14· ·assault on women's lives, and the other was in      14· ·developing curriculum and a training video, and
15· ·terms of depression as another long-term            15· ·then we went out on the road.· And from 2004 to
16· ·consequence.· I'm coauthor on that with a           16· ·2016, I was on faculty.· And we were doing a
17· ·number of people who were on the project.           17· ·very intensive three-day program once a month
18· · · · · · · · · I'm a single author on a paper       18· ·around the state for both law enforcement and
19· ·called "Sexual Abuse and Disability."               19· ·CPS and mental health and legal.
20· · · · · · · · · I am coauthor of two chapters in     20· · · · · · · · · And the third day involved
21· ·a forensic social work textbook about New York      21· ·bringing in actors to actually practice doing
22· ·State forensic interviewing best practices,         22· ·the forensic interviewing in front of faculty
23· ·which is another one of my publications.· Once      23· ·members and getting feedback.· So that's best
24· ·again, I'm one of the authors on that.              24· ·practices.
25· · · · · · · · · I'm coauthor of another handbook     25· · · · · · · · · So it's a protocol that can be


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
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·1· ·used after training and sex crimes                  ·1· ·this work as a psychologist?
·2· ·investigations with children, and it's also         ·2· · · · A.· ·It's fine to get personal.· I'm not
·3· ·used for the investigation of serious physical      ·3· ·one that worries about that aging stuff too
·4· ·abuse.                                              ·4· ·much.
·5· · · · Q.· ·Will you be doing that training           ·5· · · · · · · · · It's been about 45 years that
·6· ·anytime soon?                                       ·6· ·I've been working this type of work.· You know,
·7· · · · A.· ·Well, actually, I'm doing part of         ·7· ·it's changed through the years, obviously.· But
·8· ·that tomorrow.· That will be part of what I'm       ·8· ·I've been doing this a long time.· It's kind of
·9· ·doing tomorrow.                                     ·9· ·like both vocation and advocation.
10· · · · · · · · · Tomorrow I'm presenting on           10· · · · Q.· ·So if you could describe for us this
11· ·cultural and developmental issues in sex abuse      11· ·45 years of work.
12· ·investigations.                                     12· · · · · · · · · What do you consider your
13· · · · Q.· ·Do you have any idea how many             13· ·specialty?
14· ·personnel from New York State, the various          14· · · · A.· ·Sexual abuse, sexual assault, and
15· ·agencies that you laid out, will be attending       15· ·developmental psychology.
16· ·that training?                                      16· · · · Q.· ·Dr. Treacy, approximately how many
17· · · · A.· ·It is a statewide training, so            17· ·patients have you evaluated, either as children
18· ·they're expecting about 225 to 250 people.· I'm     18· ·or as adults, who allege that they were
19· ·really excited because this is the first live       19· ·sexually abused as children?
20· ·presentation since the pandemic.                    20· · · · A.· ·Probably between 2,700 and 2,800.
21· · · · Q.· ·Dr. Treacy, what types of consulting      21· · · · Q.· ·And of those, the number you just
22· ·work have you undertaken throughout your            22· ·laid out, how many of those were adults who
23· ·career?                                             23· ·claim that they had been sexually abused as a
24· · · · A.· ·The consulting work basically has         24· ·child?
25· ·been either training or working on cases, and       25· · · · A.· ·Probably between 4 and 500.
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·1· ·the working on cases can take a few different       ·1· · · · Q.· ·And of those patients, both the
·2· ·forms.· It can take -- and for family court         ·2· ·children and the adults who were survivors,
·3· ·purposes, children are very frequently sent to      ·3· ·approximately how many did you interview and
·4· ·me for an evaluation of what's going on in          ·4· ·test as part of your evaluation?
·5· ·terms of whether or not the case is a sex abuse     ·5· · · · A.· ·All of them.· The numbers I'm
·6· ·case or whether it's something else.· And that      ·6· ·speaking are just my own work through the
·7· ·is through the family courts of New York State.     ·7· ·years.
·8· · · · · · · · · Sometimes the law firm               ·8· · · · Q.· ·In addition to your practice as a
·9· ·enforcement will call me in, when they're           ·9· ·psychologist, have you served in any capacity
10· ·investigating, if it's a difficult case or if       10· ·before courts in cases involving allegations of
11· ·the person is somebody with special needs.          11· ·child sexual abuse?
12· · · · · · · · · Also the various district            12· · · · A.· ·Yes.
13· ·attorneys bring me in.· Various defense             13· · · · Q.· ·And how have you served courts in
14· ·attorneys bring me in to evaluate what may be       14· ·that capacity?
15· ·going on or to assist them.                         15· · · · A.· ·I've served court as an independent
16· · · · · · · · · So sometimes it's a hands-on         16· ·expert who is brought in either by the court or
17· ·actual evaluation or forensic interview.            17· ·stipulated to by all parties in family court
18· ·Sometimes it's just a paperwork review to           18· ·proceedings to conduct an independent sexual
19· ·assist lawyers.· Sometimes it's reviewing the       19· ·abuse evaluation to find out what was going on
20· ·work of another expert to help the attorneys        20· ·with any particular child.
21· ·prepare for cross-examination of that expert.       21· · · · · · · · · And I've also served as an
22· · · · · · · · · So it takes a few different          22· ·expert witness in probably -- it's well over
23· ·forms.                                              23· ·650 cases I've testified in.
24· · · · Q.· ·So, Dr. Treacy, I don't want to get       24· · · · Q.· ·Approximately how many times have you
25· ·too personal, but how long have you been doing      25· ·served as a court-appointed neutral to evaluate


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·1· ·allegations of child sexual abuse?                  ·1· · · · A.· ·In criminal court, I'm not testifying
·2· · · · A.· ·I would say probably about -- around      ·2· ·about a specific evaluation.· It's more general
·3· ·400 of them.                                        ·3· ·educational testimony.
·4· · · · · · · · · But I do need to say that            ·4· · · · · · · · · I consider myself as an expert
·5· ·whoever is bringing me in, my autonomy as an        ·5· ·in court when -- to be a teacher.· I'm
·6· ·independent expert is what's up front.· That's      ·6· ·teaching, basically educating about
·7· ·what's in any contracts that I have, that I'm       ·7· ·developmental psychology and child sexual abuse
·8· ·independent, that I'm not there to rubber-stamp     ·8· ·in family court.
·9· ·whoever is hiring me.                               ·9· · · · · · · · · In criminal court -- oh, I'm
10· · · · Q.· ·Can you give Judge Silverstein an         10· ·sorry.· That's what I was just talking about
11· ·overview of in which state and federal courts       11· ·was criminal court.
12· ·you have served as a court-appointed neutral in     12· · · · · · · · · In family court, it's different.
13· ·cases involving child sexual abuse allegations?     13· ·Family court, I've actually conducted an
14· · · · A.· ·Well, I've testified pretty much -- I     14· ·evaluation of the child.
15· ·have not testified in the western part of the       15· · · · · · · · · In very, very rare instances, I
16· ·state.· So let me start in Long Island.             16· ·have testified as a result of paperwork review
17· · · · · · · · · Both Nassau and Suffolk              17· ·where the judge and the attorney for the child
18· ·Counties, I testified in family and criminal,       18· ·have felt that the child was so wounded that
19· ·and I testified in the federal courthouse out       19· ·bringing up the issue of abuse could
20· ·there.                                              20· ·precipitate additional acts of self-harm.· And
21· · · · · · · · · In terms of New York City            21· ·in those instances, I have not evaluated the
22· ·itself, I've testified in all five boroughs,        22· ·child myself but have reviewed all of the
23· ·both family and criminal.· And I testified in       23· ·records that would be available.
24· ·the federal courthouse in Manhattan.                24· · · · · · · · · These are children who have been
25· · · · · · · · · Then going up, West Chester          25· ·psychologically hospitalized numerous times as
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·1· ·County, I testified in family, criminal, and        ·1· ·a result of suicide attempts and other types of
·2· ·the federal courthouse.                             ·2· ·self-harm.
·3· · · · · · · · · Now, going north, Putnam County,     ·3· · · · · · · · · In civil court, I'm basically
·4· ·both -- yes, both family and criminal.              ·4· ·testifying to my evaluations.
·5· · · · · · · · · Dutchess County, both family and     ·5· · · · · · · · · So the only place that I don't
·6· ·criminal.                                           ·6· ·have hands-on contact with the victims is in
·7· · · · · · · · · Columbia County, both family and     ·7· ·criminal court.· My testimony is not directed
·8· ·criminal.                                           ·8· ·to the victim; it's just directed more to the
·9· · · · · · · · · Albany County, just -- no. I         ·9· ·research.
10· ·testified in both, actually, in Albany County.      10· · · · Q.· ·Now, in these situations where you've
11· · · · · · · · · Then going more north,               11· ·been retained as a court-appointed neutral,
12· ·Rensselaer County, Wayne County, Warren County,     12· ·what do you do to help the Court assess the
13· ·Essex County, Franklin County, just criminal.       13· ·reliability of the allegations of child sexual
14· · · · · · · · · And then on the other side of        14· ·abuse?
15· ·the river, Rockland, both family and criminal.      15· · · · A.· ·I conduct interviews and I do
16· · · · · · · · · Orange, both family and              16· ·testing -- trauma testing, behavioral testing.
17· ·criminal.                                           17· ·And with the children, I also do a brief
18· · · · · · · · · Sullivan both.                       18· ·screener IQ.
19· · · · · · · · · Greene County, just criminal.        19· · · · Q.· ·What about in civil cases?· Have you
20· · · · · · · · · Albany County, both.                 20· ·been involved in any civil cases brought by
21· · · · · · · · · And that's about it for New York     21· ·adults who claimed childhood sexual abuse?
22· ·State, I think.                                     22· · · · A.· ·Yes, I have.
23· · · · Q.· ·Dr. Treacy, when serving as a             23· · · · Q.· ·And what do you do in those cases?
24· ·court-appointed neutral, what typically is your     24· ·Do you have a different process?
25· ·role?                                               25· · · · A.· ·No.· The process is always


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·1· ·interviewing and testing.· The testing is           ·1· ·referenced, what role did you play with regard
·2· ·different obviously for the adults than the         ·2· ·to the assessment of the reliability of the
·3· ·children, and the testing is even different for     ·3· ·child sexual abuse allegations?
·4· ·different age groups of the children.               ·4· · · · A.· ·In the criminal cases, I was just
·5· · · · Q.· ·Do you have experience in recent and      ·5· ·testifying as an expert.· I did not interview
·6· ·pending New York State Child Victims Act cases?     ·6· ·any of the children involved in that case.· As
·7· · · · A.· ·Yes, I do.                                ·7· ·I said, I'm not allowed to do that in New York.
·8· · · · Q.· ·And do you understand when I refer to     ·8· · · · · · · · · And in the grand jury, I was
·9· ·those cases as CVA cases?                           ·9· ·privy to all of the information before the
10· · · · A.· ·Yes, I do.                                10· ·grand jury.
11· · · · Q.· ·In these civil cases, the New York        11· · · · Q.· ·Have you been retained to assist law
12· ·State CVA cases, are you typically retained for     12· ·enforcement agencies to evaluate the
13· ·plaintiffs or defendants?                           13· ·reliability of child sexual abuse allegations?
14· · · · A.· ·So far, I've just been retained by        14· · · · A.· ·Yes, I have.
15· ·plaintiffs.· But one county in the state has        15· · · · Q.· ·How many times?
16· ·retained me -- their department of law retained     16· · · · A.· ·Oh, geez.· I would say a couple of
17· ·me to help them figure out which of the CVA         17· ·thousand times.
18· ·cases against the county, like for foster care      18· · · · · · · · · We, here in New York, do cases
19· ·and for children who were in group homes and        19· ·of multidisciplinary.· So it's not CPS doing
20· ·the like, to help them figure out how to assess     20· ·one investigation and law enforcement doing
21· ·the reliability of those cases.                     21· ·another.· We do it together.
22· · · · · · · · · So I guess it's both, because        22· · · · · · · · · So if law enforcement -- law
23· ·they're the defendant -- the county is the          23· ·enforcement basically is in on all 2,200 of the
24· ·defendant in that instance, so I'm helping the      24· ·children that I've evaluated in New York State
25· ·county figure that out.                             25· ·because now we work as a team.
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·1· · · · · · · · · And then in other instances,         ·1· · · · · · · · · At the beginning of my career,
·2· ·it's been private law firms that have been          ·2· ·that didn't happen.· This really wasn't until
·3· ·hired me to do CVA evaluations.                     ·3· ·the '90s that we finally got the two
·4· · · · Q.· ·Have you ever been qualified --           ·4· ·disciplines to have one investigation instead
·5· · · · A.· ·On my screen now, it says "Clifton        ·5· ·of parallel investigations.
·6· ·Johnson."                                           ·6· · · · · · · · · So since the '90s, all of my
·7· · · · Q.· ·Dr. Treacy, have you been qualified       ·7· ·cases that could be considered to be able to go
·8· ·as an expert regarding child sexual abuse in a      ·8· ·criminally, I've had law enforcement
·9· ·civil case?                                         ·9· ·involvement.· I just got a law enforcement
10· · · · A.· ·Yes.                                      10· ·referral from the State Police just this week.
11· · · · Q.· ·Approximately how many times?             11· · · · Q.· ·In all of this work, Dr. Treacy, as a
12· · · · A.· ·About 10 to 12.                           12· ·psychologist in private practice, your work as
13· · · · Q.· ·Do you have experience with the           13· ·a court-appointed neutral, and your work as a
14· ·indictment or criminal prosecution of Roman         14· ·consulting or testifying expert, what is the
15· ·Catholic priests for crimes related to alleged      15· ·process that you employ to assess the
16· ·child sexual abuse?                                 16· ·reliability of child sexual abuse allegations?
17· · · · A.· ·Yes, I do.· I've had involvement with     17· · · · A.· ·With children?
18· ·that on two levels.· One was I was involved         18· · · · Q.· ·Yes.
19· ·with the grand jury investigation of the            19· · · · A.· ·With children, I come in -- I come in
20· ·Archdiocese of Rockland Center in New York.         20· ·blind.· And I do that for family court cases
21· ·And that involved about 20-something priests.       21· ·because there's a lot of research that
22· · · · · · · · · And then I have had maybe ten        22· ·indicates that professionals have a tendency to
23· ·criminal cases where I have testified as an         23· ·confirm information that they're given in
24· ·expert for the prosecution.                         24· ·advance.· It's called the Rosenthal effect.
25· · · · Q.· ·And in those cases that you just          25· · · · · · · · · So I come in blind.· I only know


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·1· ·the name of the child, the age of the child,        ·1· ·high-risk factors for sexual abuse; and then,
·2· ·and whether the child has any special needs         ·2· ·of course, testing.
·3· ·status or drugs, medications.                       ·3· · · · · · · · · The adults -- I use two measures
·4· · · · · · · · · I conduct developmental              ·4· ·consistently with the adults, the Trauma
·5· ·assessments, which is basically establishing        ·5· ·Symptom Inventory-2, which is the update from
·6· ·rapport, finding out about the child's life.        ·6· ·the original Trauma Symptom Inventory -- so
·7· ·It's the equivalent of almost a psychosocial        ·7· ·I'll refer to that as the TSI-2 -- and the
·8· ·history with the adult, but it's just child         ·8· ·other one is the Detailed Assessment of
·9· ·bound.                                              ·9· ·Posttraumatic Stress, DAPS.· And I will refer
10· · · · · · · · · I do an IQ screener unless the       10· ·to that as the DAPS.
11· ·child has an individualized education plan,         11· · · · Q.· ·Dr. Treacy, I'm now going to direct
12· ·IEP.· Because that already entails testing, so      12· ·your attention to what has been marked as
13· ·I wouldn't repeat it.                               13· ·JTX1189, which Mr. Spalding will now, please,
14· · · · · · · · · I do an assessment of their          14· ·put up on the screen.
15· ·memory capability, whether or not they're           15· · · · · · · · · Dr. Treacy, what is JTX1189?
16· ·swearable, and what their perception is about       16· · · · A.· ·That is my CV.
17· ·various touching behaviors.· And then what's        17· · · · Q.· ·Did you prepare this CV?
18· ·conducted basically is investigative                18· · · · A.· ·I did.
19· ·interviews.                                         19· · · · Q.· ·Is your CV up to date?
20· · · · · · · · · The children under eight, I          20· · · · A.· ·It's up to date except for a couple
21· ·administer to the parents.· I administer the        21· ·of law firms that have referred CVA cases to me
22· ·trauma symptom checklist for young children,        22· ·in the last month or so.
23· ·the child sexual abuse behavior inventory, and      23· · · · · · · · · MS. WARNER:· Your Honor, I offer
24· ·the child behavior checklist.                       24· · · · JTX1189 into evidence.
25· · · · · · · · · With the kids over eight, I do       25· · · · · · · · · MR. STONER:· No objection,
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·1· ·the trauma symptom checklist for children           ·1· · · · Your Honor.
·2· ·because I can administer that directly to the       ·2· · · · · · · · · MS. WARNER:· Thank you,
·3· ·child.· I also have the adults fill out a child     ·3· · · · Your Honor.· I saw that by lip-reading.
·4· ·behavior checklist and, up to 12, child sexual      ·4· ·BY MS. WARNER:
·5· ·behavior inventory.                                 ·5· · · · Q.· ·Dr. Treacy, have you received any
·6· · · · · · · · · So it's a combination of             ·6· ·awards for your work?
·7· ·interviewing and testing.· And in New York          ·7· · · · A.· ·I have.
·8· ·State, all of it is taped.                          ·8· · · · Q.· ·Could you just give us an example of
·9· · · · Q.· ·And is your process any different for     ·9· ·the awards you've received?
10· ·adult survivors who allege child sexual abuse?      10· · · · A.· ·I've received the Susan B. Anthony
11· · · · A.· ·There's overlap, and then there's         11· ·Award.
12· ·some difference.                                    12· · · · · · · · · I've received awards from local
13· · · · · · · · · Unless the adult has a               13· ·parent groups in Bronx County.
14· ·developmental delay or disability, I don't do       14· · · · · · · · · I've received the New York
15· ·any IQ testing.· And if they do have a              15· ·Advisory Task Force Against Sexual Assault
16· ·disability, generally that's already been done;     16· ·award from them.
17· ·so I don't need to do it with adults.· So that      17· · · · · · · · · I've received United Irish
18· ·part is different.                                  18· ·Counties Association Award.· I am Irish.
19· · · · · · · · · I do establish a report, gather      19· · · · · · · · · And that's all I'm remembering
20· ·information about their lives, but it's a           20· ·right now.
21· ·called a psychosocial interview.· So that           21· · · · Q.· ·Dr. Treacy, which entities engaged
22· ·entails getting their educational background;       22· ·you in this case?
23· ·their employment background; their partner          23· · · · A.· ·I'm sorry?
24· ·relationship history and their sexual history;      24· · · · Q.· ·Which entities engaged you in this
25· ·and whether or not the family of origin had any     25· ·case?


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·1· · · · A.· ·The insurance companies.· The             ·1· · · · · · · · · Then it has storage, which is
·2· ·insureds, I guess, you're calling them.             ·2· ·hit "save."
·3· · · · Q.· ·Are you charging for your services?       ·3· · · · · · · · · And then it's retrieval, pulling
·4· · · · A.· ·Yes.                                      ·4· ·the information back up.
·5· · · · · · · · · MS. WARNER:· Your Honor, based       ·5· · · · · · · · · So when one thinks about adults
·6· · · · on her knowledge, experience, training,        ·6· ·recalling what happened to them as children, it
·7· · · · and education, we proffer Dr. Eileen           ·7· ·very much depends how the information is
·8· · · · Treacy as an expert in sexual abuse,           ·8· ·encoded, how the information is originally put
·9· · · · developmental psychology, and forensic         ·9· ·in.
10· · · · evaluation of sex crimes.                      10· · · · · · · · · Okay.· So the information is put
11· · · · · · · · · MR. STONER:· No objection,           11· ·in through a child's eyes.· And so the
12· · · · Your Honor.                                    12· ·information -- when they're retrieving that
13· · · · · · · · · Your Honor, I believe you're on      13· ·information as an adult, it's retrieved with --
14· · · · mute, so we can't hear.                        14· ·sounding very -- I'll use the technical term --
15· · · · · · · · · THE COURT:· Can you hear me now?     15· ·"child idiosyncratic."· That means through the
16· · · · · · · · · MS. WARNER:· Yes.                    16· ·eyes of the child, from the child's
17· · · · · · · · · THE COURT:· Okay.· Sorry about       17· ·perspective, so that it is not an adult's
18· · · · that.                                          18· ·memories that are being pulled up; it's a
19· · · · · · · · · But, yes, I will accept              19· ·child's memories that are being pulled up.
20· · · · Dr. Treacy as an expert in the identified      20· · · · · · · · · And that very much depends on
21· · · · areas.                                         21· ·how the person encodes it.· So this is one of
22· ·BY MS. WARNER:                                      22· ·the reasons -- for example, for children who
23· · · · Q.· ·Dr. Treacy, when you evaluate a           23· ·are plied with alcohol and such, it's more
24· ·person who claims to have been sexually abused      24· ·difficult for them to remember what happened to
25· ·as a child, how do you go about assessing the       25· ·them because alcohol interferes with memory.
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·1· ·reliability of that person's statements?            ·1· · · · Q.· ·Now, when you have been engaged to
·2· · · · A.· ·I interview them.· I conduct a            ·2· ·assess an adult male victim who alleges child
·3· ·psychosocial, as I mentioned earlier.· And I        ·3· ·sexual abuse during their childhood, what steps
·4· ·also evaluate whether or not there's evidence       ·4· ·do you take to assess the reliability of their
·5· ·of the sexual abuse dynamics in their               ·5· ·memories and allegations?
·6· ·statements.                                         ·6· · · · A.· ·I'm examining whether or not their
·7· · · · Q.· ·Is there a best practice in the field     ·7· ·statements -- and, of course, I have to ask
·8· ·of psychology, based upon your experience, to       ·8· ·questions that reflect this.· The questions
·9· ·assess the reliability of claims of child           ·9· ·involve the sexual abuse dynamics of
10· ·sexual abuse?                                       10· ·engagement, sexual interaction, secrecy,
11· · · · A.· ·Yes.                                      11· ·disclosure, and supression.
12· · · · Q.· ·What is that best practice?               12· · · · · · · · · So those five sexual abuse
13· · · · A.· ·The best practice is interviewing and     13· ·dynamics, that's what I'm examining when I'm
14· ·testing -- testing for posttraumatic stress --      14· ·talking to adults.· So my questions are framed
15· ·posttraumatic stress disorder and related           15· ·in such a way to gather that information.
16· ·symptomology as well as interviewing.· So it's      16· · · · · · · · · And, in fact, this is part of
17· ·two basic components, interviewing and testing.     17· ·the training tomorrow, is about how -- teaching
18· · · · Q.· ·Now, Dr. Treacy, based on your            18· ·people how to ask questions that can elicit
19· ·experience, can you explain to us how male          19· ·that kind of information.· Because it's
20· ·adult victims process their childhood sexual        20· ·complicated.· It's not something one can just
21· ·abuse?                                              21· ·go to the library and look up.· You know, how
22· · · · A.· ·Yes.· This has to do with memory.         22· ·do you talk to somebody about the engagement
23· ·When -- memory has three processes.                 23· ·phase?· Because the engagement phase has three
24· · · · · · · · · Memory has encoding.· That's the     24· ·different prongs.
25· ·input.· Think the computer.                         25· · · · · · · · · I don't know if you want me to


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·1· ·explain that.                                       ·1· ·victims.
·2· · · · Q.· ·I think we'll get to that in a            ·2· · · · · · · · · So putting something -- thinking
·3· ·minute, Doctor.                                     ·3· ·paper can capture -- encapsulate that is rather
·4· · · · · · · · · First, I'd like to ask you:          ·4· ·hard.
·5· ·What were you asked to do in this case?             ·5· · · · · · · · · But that was my opinion of the
·6· · · · A.· ·What I was asked to do in this case       ·6· ·TDP.
·7· ·was initially review the trust distribution         ·7· · · · Q.· ·And did you submit a report setting
·8· ·procedure, the TDP, and provide my opinion back     ·8· ·forth your opinions?
·9· ·to the attorneys about my read of that              ·9· · · · A.· ·Yes, I did.
10· ·document, my concerns about that document, and      10· · · · Q.· ·And was that in or around
11· ·any flaws that might be in that document.· That     11· ·December 2021?
12· ·was the first thing I was tasked with.              12· · · · A.· ·Yes, it was.· I think it was December
13· · · · · · · · · The second thing I was tasked        13· ·the 5th.
14· ·with, I was provided with two groups of proofs      14· · · · Q.· ·Excuse me?
15· ·of claim, or POCs, that totaled 39 POCs so that     15· · · · A.· ·I thought it was December the 5th.
16· ·I could get a sense of what information and         16· ·That date is sticking in my brain.
17· ·what data was collected in that POC -- in those     17· · · · Q.· ·I believe you're correct.
18· ·POCs.                                               18· · · · · · · · · Now, did you submit an amended
19· · · · · · · · · So that was what I was               19· ·report in this case?
20· ·originally asked to do.                             20· · · · A.· ·I did.
21· · · · Q.· ·What experience did you draw upon         21· · · · Q.· ·How did you amend your report?
22· ·when you were conducting your analysis of these     22· · · · A.· ·I had transposed or inverted a
23· ·materials that you've just described to             23· ·number, and so I had to change that number.
24· ·the Court?                                          24· · · · Q.· ·Was there any other change to the
25· · · · A.· ·Well, I was drawing from my               25· ·report?
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·1· ·education, training, and experience.                ·1· · · · A.· ·No.
·2· ·Basically, I was reviewing this with the mind's     ·2· · · · Q.· ·Did that change with regard to that
·3· ·eye from my entire career, which has been           ·3· ·one transposition affect the opinions?· Did it
·4· ·dedicated to helping victims and also trying to     ·4· ·change your opinions in any way?
·5· ·get rid of cases that were not cases.               ·5· · · · A.· ·No.
·6· · · · Q.· ·Dr. Treacy, could you please state        ·6· · · · Q.· ·Now, Dr. Treacy, were you asked to
·7· ·the opinions you've formed?                         ·7· ·assess the reliability of any specific claimant
·8· · · · A.· ·The opinion that I formed is that the     ·8· ·or any specific groups of claimants in this
·9· ·TDP is not an adequate tool for assessing           ·9· ·case?
10· ·whether or not somebody was, in fact, abused as     10· · · · A.· ·No, I was not.
11· ·a child.                                            11· · · · Q.· ·Were you asked to assess the value of
12· · · · · · · · · The one part of the TDP that I       12· ·any claimant or any specific group of claimant
13· ·thought was the strongest was the impact            13· ·in this case?
14· ·component, because the impact component really      14· · · · A.· ·No.
15· ·did cover all of the areas that are impacted as     15· · · · Q.· ·You mentioned that you reviewed these
16· ·a result of sexually abuse.· So that, I thought     16· ·39 proofs of claim.
17· ·was -- you know, I would give that part of the      17· · · · · · · · · Why did you review the proofs of
18· ·TDP a good grade.                                   18· ·claim?
19· · · · · · · · · But, otherwise, I saw a lot of       19· · · · A.· ·Because I wanted to get a sense of
20· ·flaws.· It's very hard to capture on paper the      20· ·their context; you know, what information was
21· ·experiences that people go through, especially      21· ·being gathered in this proof of claim.
22· ·the traumatic experience of sexual abuse            22· · · · · · · · · I've never done a case like this
23· ·because sexual abuse, in and of itself, is very     23· ·before, and so I really needed to get a sense
24· ·psychologically complicated for the victims.        24· ·of what kind of information was being gathered
25· ·It's very -- it's very complicated for the          25· ·and the manner in which it was being gathered.


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·1· ·Because reliability is a very important issue       ·1· ·for this.
·2· ·in sex abuse cases.                                 ·2· · · · · · · · · And then, as the child becomes
·3· · · · Q.· ·Did you come to form any opinion          ·3· ·acclimated to this -- the offenders are always
·4· ·after reviewing the proof of claim form?            ·4· ·testing the waters, so they don't move like,
·5· · · · A.· ·Yes, I did.                               ·5· ·boom, full speed ahead.· They generally will
·6· · · · Q.· ·What was your opinion?                    ·6· ·move ahead to make sure that the child doesn't
·7· · · · A.· ·That the proofs of claims are not an      ·7· ·disclose.
·8· ·adequate way to assess whether somebody was         ·8· · · · · · · · · So we can see a progression in
·9· ·truly victimized or whether they were not.          ·9· ·the sexual behaviors over time.· And anything
10· · · · Q.· ·Now, Dr. Treacy, a little bit ago you     10· ·people can do as adults sexually, they can do
11· ·talked about sexual abuse dynamics, I believe?      11· ·it to children.
12· · · · A.· ·I did.· I did.                            12· · · · · · · · · Overlapping chronologically with
13· · · · Q.· ·What attributes or dynamics of sexual     13· ·the sexual interaction phase is secrecy.· Now
14· ·abuse of children are important, in your            14· ·the task of the offender is to keep the
15· ·experience, in assessing the reliability of         15· ·youngster quiet about the sexual abuse.· And
16· ·allegations?                                        16· ·that -- people understand overt threat.· "If
17· · · · A.· ·I'll start out by giving the kudos to     17· ·you tell, blah-blah will happen to you."
18· ·creating this to Dr. Suzanne Sgroi, S-G-R-O-I,      18· · · · · · · · · What people have more difficulty
19· ·who formulated these in a book called "Handbook     19· ·understanding is that, very often, especially
20· ·of Clinical Intervention in Child Sexual Abuse"     20· ·with your good offenders, they don't even need
21· ·back around 1983.                                   21· ·to do the overt threat because the child
22· · · · · · · · · In this, there are five sexual       22· ·already has a perception of a negative outcome
23· ·abuse dynamics.                                     23· ·if they tell about this.· "I'll get in trouble.
24· · · · · · · · · The first dynamic is called          24· ·My mommy will be upset," whatever the issue may
25· ·engagement.· Now, there are three tasks that        25· ·be.
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·1· ·the offender has during the engagement phase.       ·1· · · · · · · · · So in secrecy, we look at both
·2· · · · · · · · · First of all, the offender has       ·2· ·what the child's perception was about telling
·3· ·to gain access and opportunity to the child.        ·3· ·and what the offender said or didn't say about
·4· ·They have to establish themselves in a trusted      ·4· ·telling.
·5· ·authority position over the child.· And the         ·5· · · · · · · · · Then we get to disclosure.· And,
·6· ·third prong is that they have to begin the          ·6· ·generally speaking, there are two forms of
·7· ·process of breaking down the child's inhibitors     ·7· ·disclosure.· Although there are some other
·8· ·about sex.                                          ·8· ·forms, but they're far, far less frequent.
·9· · · · · · · · · In other words, they have to         ·9· · · · · · · · · Disclosure can be purposeful,
10· ·normalize sexual behavior.· And the media very      10· ·and that is just how it sounds.· Purposeful
11· ·often refers to this as grooming.· That's the       11· ·disclosure is when the child makes up his or
12· ·third prong, breaking down the inhibitors about     12· ·her mind to come forward and tell someone about
13· ·sex.                                                13· ·the sexual abuse.· And when they do that, they
14· · · · · · · · · When those three are achieved,       14· ·have a reason for so doing.· And it's very
15· ·it moves on into the second phase of the sexual     15· ·important for investigators to elicit that
16· ·abuse dynamics, and that is sexual interaction.     16· ·information.
17· ·Now, it is actual sexual interaction going on.      17· · · · · · · · · The other purposeful disclosure,
18· · · · · · · · · Usually, it's progressive and        18· ·as I said, has a purpose.· And that, you need
19· ·it's hierarchical.· So it starts out at the         19· ·to find out.
20· ·lower end of the continuum of sexual behaviors.     20· · · · · · · · · Accidental disclosure is when,
21· ·It might be exposing oneself's private parts or     21· ·somehow or another, the case is, quote, found.
22· ·asking the child to expose his or her private       22· ·Maybe the third party walks in while the abuse
23· ·parts.· It might move to touching.· It could be     23· ·is going on.· Maybe the child develops a
24· ·touching oneself or touching each other.· But,      24· ·sexually transmitted infection.· Maybe the
25· ·generally speaking, those are the entry points      25· ·child gets pregnant.· Maybe the child starts


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·1· ·sexually acting out and somebody says,              ·1· ·of the claimants here?
·2· ·"Johnnie, where did you learn that?"· And it        ·2· · · · A.· ·Not adequately, no.· There were a few
·3· ·might come out that way, and that's an              ·3· ·things in there -- in the POCs that allowed me
·4· ·accidental disclosure.                              ·4· ·to look for some of the sexual abuse dynamics
·5· · · · · · · · · But whatever way the disclosure      ·5· ·in individual claims.
·6· ·comes out, what happens then in the life of the     ·6· · · · · · · · · So I did try to overlay the
·7· ·child is all hell breaks loose because there's      ·7· ·sexual abuse dynamics with some of the
·8· ·all kinds of adults then asking questions of        ·8· ·information available in the POCs.· And I was
·9· ·the kid and the family.· And the family is          ·9· ·able to pick out four questions that tapped
10· ·like, "Why didn't you tell me?· Why didn't you      10· ·into sort of the sexual abuse dynamics, but
11· ·tell me?"· So there's a lot of -- it's sets a       11· ·it's not enough.
12· ·crisis atmosphere disclosure.                       12· · · · Q.· ·Does the fact that the TDPs require
13· · · · · · · · · And so, finally, what we see at      13· ·claimants to provide all medical records to the
14· ·the end of this, which is the final phase, is       14· ·settlement trustee affect your opinion about
15· ·supression.· Supression.· Now sex abuse is not      15· ·whether the process is sufficient for
16· ·the only place that we see supression.              16· ·evaluating reliability?
17· · · · · · · · · "Supression" means efforts to        17· · · · A.· ·No, it doesn't.· Because,
18· ·push away painful material.· And so we examine      18· ·unfortunately, in valid sex abuse cases, we
19· ·how is the child reacting to the disclosure in      19· ·only get medical evidence about 10 percent of
20· ·the aftermath of the disclosure and how is the      20· ·the case.· And that was at the time the
21· ·family reacting to the child.                       21· ·children were children, so actual child cases.
22· · · · · · · · · In cases that get known to the       22· · · · · · · · · So medical records wouldn't be
23· ·broader community, like some of the religious       23· ·the best place to get information about --
24· ·cases that we've had, the community might also      24· ·unless it was very acute and the child was
25· ·be involved in the life of the child and the        25· ·injured in the course of the sexual assault.
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·1· ·family.                                             ·1· · · · · · · · · But most child molesters, unless
·2· · · · · · · · · So we look at the child's own        ·2· ·they're sadistic child molesters, don't hurt
·3· ·coping mechanisms, how is the child coping with     ·3· ·the children because they want to continue
·4· ·this -- this is also sometimes referred to as       ·4· ·abusing them.· So they don't want anybody to
·5· ·defense mechanisms -- and then how is the           ·5· ·see this.
·6· ·family reacting to the child.· So external to       ·6· · · · · · · · · If it was an acute injury, that
·7· ·the child, what's going on.· So that's what's       ·7· ·would be probably in the medical records, but
·8· ·examined in supression.                             ·8· ·the chances of that are rather slim.
·9· · · · · · · · · And that was a quick summary of      ·9· · · · Q.· ·In psychology, what is malingering?
10· ·the sexual abuse dynamics.                          10· · · · A.· ·Malingering is a very important
11· · · · Q.· ·Now, Dr. Treacy, based upon your          11· ·concept in forensics.
12· ·experience, do you evaluate these five sexual       12· · · · · · · · · Malingering is when somebody is
13· ·abuse dynamics when determining the reliability     13· ·either overreporting behavior, like trying to
14· ·of claims by adults that they had been sexually     14· ·make themselves look sicker than they really
15· ·abused as children?                                 15· ·are in order to get something, or trying to
16· · · · A.· ·Absolutely.· Yes, in every single         16· ·make themselves look in a better light.
17· ·case that I've done.                                17· · · · · · · · · We refer to this as faking good
18· · · · · · · · · These five dynamics are kind of      18· ·or faking bad in an effort to get some type of
19· ·like a golden light in knowing where to go to       19· ·secondary gain out of making that, you know --
20· ·evaluate cases.· It's very, very helpful.           20· ·that either overreporting or underreporting
21· · · · Q.· ·Well, Dr. Treacy, when reviewing the      21· ·behavior.
22· ·TDP and the claim form in this case, did you        22· · · · Q.· ·In your opinion, what information
23· ·form an opinion whether the TDP and the claim       23· ·would the settlement trustee need to have
24· ·form put forth an acceptable process for            24· ·available to assess that a claimant in this
25· ·evaluating these sexual abuse dynamics for each     25· ·case is making false allegations or


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·1· ·exaggerating the impact of their abuse?             ·1· ·sufficient to evaluate reliability of these
·2· · · · A.· ·They would have to be interviewed by      ·2· ·allegations by these claimants?
·3· ·a person who has expertise as to sexual abuse,      ·3· · · · A.· ·No.· No.· Because it's just checking
·4· ·and they would have to be tested using the          ·4· ·boxes.
·5· ·objective measures that I mentioned earlier,        ·5· · · · · · · · · There was -- the only place that
·6· ·the TSI-2 and the DAPS.                             ·6· ·it allowed for a narrative was one question,
·7· · · · Q.· ·Based upon your experience with child     ·7· ·which was a good one.· It was the abuse
·8· ·sexual abuse cases, how can the Court ensure        ·8· ·narrative.· But the instruction on it made it
·9· ·that the requisite information to assess            ·9· ·optional.
10· ·reliability and impact is gathered in the trust     10· · · · · · · · · So it wasn't even a requirement
11· ·administration process?                             11· ·of the person completing the POC to fill out
12· · · · A.· ·It would have to require that the         12· ·the abuse narrative.· It was just left there as
13· ·claimants wish to go forward, that they would       13· ·an option.
14· ·have to be interviewed by a person with             14· · · · · · · · · Checking boxes is not enough to
15· ·expertise in sexual abuse and tested                15· ·determine reliability of abuse.
16· ·objectively.                                        16· · · · Q.· ·Now, Dr. Treacy, based on your review
17· · · · Q.· ·Is it your opinion that currently,        17· ·of the 39 proofs of claim that you discuss --
18· ·because testing and interviews are not present,     18· ·and I'm now referring you back to the sexual
19· ·there is not sufficient basis for the               19· ·abuse dynamics that you detailed.
20· ·settlement trustee to evaluate reliability?         20· · · · · · · · · Did you form an opinion whether
21· · · · A.· ·The most updated TDP allowed for a        21· ·information is missing from the POCs form that,
22· ·sworn six-hour mental health evaluation, if it      22· ·in your experience, would assist with
23· ·was so deemed by the trustee.· So it was not        23· ·addressing these sexual abuse dynamics?
24· ·required; it was up to the trustee to ask for       24· · · · A.· ·I think I got lost in that question.
25· ·such an evaluation.                                 25· ·I apologize.· Could you do it again?
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·1· · · · · · · · · But it didn't clear up what kind     ·1· · · · Q.· ·It was a long question.· Let me try
·2· ·of mental health evaluation.· It didn't clear       ·2· ·it one more time.· I'll break it up.
·3· ·up that the evaluation had to be focused on         ·3· · · · · · · · · You said earlier you reviewed 39
·4· ·sexual abuse and what psychological impact the      ·4· ·proofs of claim?
·5· ·victim may have had.                                ·5· · · · A.· ·Right.
·6· · · · · · · · · So I don't think it was clear        ·6· · · · Q.· ·And you, then, discussed with us the
·7· ·enough in requiring it, first of all, for           ·7· ·sexual abuse dynamics in the practice of
·8· ·people who are going forward.                       ·8· ·applied psychology?
·9· · · · · · · · · And, second of all, it didn't        ·9· · · · A.· ·Right.
10· ·say specifically sexual abuse interviews.           10· · · · Q.· ·Now, did you form an opinion, based
11· ·Because you could get a mental health               11· ·upon looking at both of those items, whether
12· ·evaluation of, like, your elementary school         12· ·information is missing from the POC form?
13· ·education.· You could get a mental health           13· · · · A.· ·Oh, yes.· There's a lot of
14· ·evaluation of your sex life.                        14· ·information missing from the POC forms.
15· · · · · · · · · You could get a mental health        15· · · · Q.· ·What is it -- what information, in
16· ·evaluation of many things, but it needs to be       16· ·your opinion, is missing?
17· ·specified that it's about the sexual abuse          17· · · · A.· ·There wasn't enough information about
18· ·history.· And I don't think it would take           18· ·the grooming.· It just had a check -- check if
19· ·six hours for the claimants to go through that      19· ·there was grooming, if you were given any gifts
20· ·at all.· I don't think it would take six hours.     20· ·or anything like that.· So there was no explain
21· · · · Q.· ·So let's go back to the proof of          21· ·or, you know, describe this further.
22· ·claim form itself.                                  22· · · · · · · · · There was -- in terms of the
23· · · · A.· ·Okay.                                     23· ·sexual interaction, they did have boxes that
24· · · · Q.· ·Do you believe that that proof of         24· ·you could check.· But there, again, was no
25· ·claim form, the way it's laid out, is               25· ·follow-up about how these sexual behaviors were


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·1· ·introduced to the claimants.                        ·1· ·a question about threat, and that goes to the
·2· · · · · · · · · In terms of secrecy, it didn't       ·2· ·secrecy phase.
·3· ·have anything about -- other than threat.· It       ·3· · · · · · · · · So those four questions went to
·4· ·had an overt threat, but it didn't say anything     ·4· ·the sexual abuse dynamics.
·5· ·about implicit threat, the child's own              ·5· · · · · · · · · And I added two other questions
·6· ·perception of what happened.                        ·6· ·that I thought went to the issue of possible
·7· · · · · · · · · It had -- it did ask if there        ·7· ·corroboration from an investigatory point of
·8· ·was a prior disclosure.· That was on the POC.       ·8· ·view, and that was if there was a prior
·9· ·But it didn't say what elicited the disclosure,     ·9· ·disclosure.
10· ·so you don't know how the disclosure came out       10· · · · · · · · · For example, one of the POCs
11· ·and what prompted the disclosure.                   11· ·that I reviewed, the gentleman had,
12· · · · · · · · · And you don't know much about        12· ·unfortunately, been psychiatrically
13· ·the disclosure because all of this is, again,       13· ·hospitalized.· And he disclosed the sexual
14· ·checking a box.                                     14· ·abuse while he was hospitalized, so there would
15· · · · · · · · · And you don't know anything          15· ·be collaboration of his report.
16· ·about -- well, we know something about impact       16· · · · · · · · · So the prior report was going to
17· ·because there was more boxes that you could         17· ·provide me with some sense of corroboration.
18· ·check for where the claimant felt they were         18· ·So I included that in the six key factors, and
19· ·impacted.· But, again, no follow-up, no ability     19· ·I included signed by victim because a few of
20· ·to clarify.· Excuse me.                             20· ·the ones that I referred were signed by
21· · · · Q.· ·Now, when you formed your opinion and     21· ·attorneys, not the victims themselves.
22· ·wrote your report, did you reference any key        22· · · · · · · · · MS. WARNER:· Your Honor, I'm
23· ·factors of abuse?                                   23· · · · told that I'm out of focus, which is
24· · · · A.· ·I did.· I did.                            24· · · · probably not unusual.
25· · · · Q.· ·Could you explain to us what you          25· · · · · · · · · But I'm told I have stay very
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·1· ·referenced and why you think they were              ·1· · · · still, so I'm trying to not move at all to
·2· ·important?                                          ·2· · · · hopefully be more in focus.· But that's
·3· · · · A.· ·Okay.· When I was going through the       ·3· · · · not important.· The witness is in focus.
·4· ·POCs, as I said, I was trying to see if the         ·4· ·BY MS. WARNER:
·5· ·POCs elicited any information about the sexual      ·5· · · · Q.· ·So, Dr. Treacy, do you, generally, in
·6· ·abuse dynamics.                                     ·6· ·your practice, when you're evaluating child
·7· · · · · · · · · I found that four questions on       ·7· ·sexual abuse allegations, look to these six key
·8· ·the POC did involve some of the sexual abuse        ·8· ·factors of abuse?
·9· ·dynamics.                                           ·9· · · · A.· ·Not those six key factors.· I look to
10· · · · · · · · · And do you want me to say what       10· ·the five sexual abuse dynamics.
11· ·the four were?                                      11· · · · · · · · · The reason I was looking at
12· · · · Q.· ·Go ahead, please.                         12· ·these six, because four of them were related to
13· · · · A.· ·Okay.· The four were -- there was a       13· ·sexual abuse dynamics and two of them were
14· ·checkbox for grooming.· So we had that.             14· ·related to potential corroboration.· So that's
15· · · · · · · · · There was a checkbox -- there        15· ·why I picked these six.
16· ·was a number boxes if there was progression in      16· · · · · · · · · But in my practice, I'm
17· ·the sexual behavior.· So the grooming would go      17· ·examining the sexual abuse dynamics, the five
18· ·to the engagement phase.                            18· ·that I mentioned earlier.
19· · · · · · · · · The progression in the sexual        19· · · · Q.· ·Dr. Treacy, we're now going to place
20· ·behaviors would go to the sexual interaction        20· ·on the screen Exhibit 2 to your December 5,
21· ·phase.                                              21· ·2021, report in this case.· It's a spreadsheet
22· · · · · · · · · The abuse narrative goes to the      22· ·labeled "Key Factors of Abuse Summary
23· ·sexual interaction phase.                           23· ·Statistics," which is the first page of
24· · · · · · · · · And there was a question about       24· ·JTX2205.
25· ·threat.· Again, another box checked.· There was     25· · · · · · · · · MS. WARNER:· Mr. Spalding, could


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·1· · · · you please display the first page of           ·1· ·up of the manner in which this case was handled
·2· · · · JTX2205.                                       ·2· ·to improve the reliability of the process, that
·3· · · · · · · · · THE WITNESS:· I'm going to           ·3· ·this wasn't going to be reliable enough, that
·4· · · · switch glasses.                                ·4· ·these forms and paperwork weren't reliable
·5· ·BY MS. WARNER:                                      ·5· ·enough.
·6· · · · Q.· ·That's good because the next question     ·6· · · · Q.· ·You just referred to the paperwork.
·7· ·I'm going to ask you is:· Do you recognize the      ·7· ·And earlier in your testimony, you talked about
·8· ·first page of JTX2205?                              ·8· ·a paper claim form.
·9· · · · A.· ·I do recognize it.                        ·9· · · · · · · · · Do you have an opinion about
10· · · · Q.· ·And why do you recognize it,              10· ·whether a paper claim form or other only
11· ·Dr. Treacy?                                         11· ·written submissions can substitute for
12· · · · A.· ·Because I had asked the gentleman         12· ·interviews and objective testing for purposes
13· ·from Roux, R-O-U-X, who put this together, the      13· ·of evaluating reliability of child sexual abuse
14· ·statistician, Marc, if he could please go           14· ·allegations?
15· ·through the data from the sixth iteration of        15· · · · A.· ·I have an opinion.
16· ·the Bates White Boy Scouts data.· I wanted to       16· · · · Q.· ·What is that opinion?
17· ·see what percentages of overall population          17· · · · A.· ·My opinion is it's just not adequate.
18· ·would demonstrate these dynamics or these six       18· ·These cases are very complex.· And individuals
19· ·key factors that I mentioned.                       19· ·who have been really abused really deserve to
20· · · · · · · · · And so he was able to do that        20· ·get compensated for what they've gone through.
21· ·for me, and that's what you see at the top of       21· · · · · · · · · And the bogus cases are the
22· ·the screen there.                                   22· ·cases that kind of may have jumped on the wagon
23· · · · Q.· ·So for the record, Dr. Treacy, you        23· ·because they saw something on Facebook or
24· ·actually asked for this, JTX2205, first page to     24· ·whatever.· They need to be called out.
25· ·be put together by Mr. Marc Scarcella?              25· · · · Q.· ·Dr. Treacy, are you aware that the
                                              Page 231                                                 Page 233
·1· · · · A.· ·That's correct.                           ·1· ·claimants in this case may submit new written
·2· · · · Q.· ·Now, did you ask to see this data         ·2· ·claim forms to the settlement trust that may
·3· ·about all 82,209 proofs of claim in this case?      ·3· ·differ from the proofs of claim that they've
·4· · · · A.· ·I did.                                    ·4· ·already submitted?
·5· · · · · · · · · MS. WARNER:· Mr. Spalding, would     ·5· · · · A.· ·I've been told that.
·6· · · · you now, please, highlight Column H in         ·6· · · · Q.· ·Do you have an opinion about whether
·7· · · · this table.· It's the column with the          ·7· ·a new or a different written submission to the
·8· · · · heading "Percentage claims with at least       ·8· ·settlement trust can provide a sufficient
·9· · · · four key factors of abuse."· Thank you.        ·9· ·process to evaluate the reliability of child
10· ·BY MS. WARNER:                                      10· ·sexual abuse allegations here?
11· · · · Q.· ·Do you see that?                          11· · · · A.· ·I do have an opinion.
12· · · · A.· ·Yes, I see it.                            12· · · · Q.· ·What is it?
13· · · · Q.· ·Dr. Treacy, did you form an opinion       13· · · · A.· ·I don't think it's enough.· I don't
14· ·concerning the significance, if any, of the         14· ·think you can do this on paper.
15· ·data in this Column H as it relates to what         15· · · · · · · · · Unless, let's say, that the new
16· ·information is available to evaluate the            16· ·claim information includes psychological
17· ·reliability of the claimants' allegations here?     17· ·interviewing and testing by a legitimate person
18· · · · A.· ·I did.                                    18· ·doing it.· If they submit that in paper, that
19· · · · Q.· ·And what opinion did you form?            19· ·would be fine with me.
20· · · · A.· ·This column is particularly important     20· · · · · · · · · But I think that -- given this
21· ·because I was being -- I was somewhat liberal       21· ·population, I think it's really important to
22· ·saying four of the key factors were present.        22· ·have the objective matters to -- particularly
23· · · · · · · · · Only 50 percent of all the           23· ·to evaluate faulty reporting.
24· ·claims had four of the factors present, which       24· · · · Q.· ·Now, Dr. Treacy, you remember your
25· ·said, to me, that there had to be a tightening      25· ·deposition was taken in this case?


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·1· · · · A.· ·Yes, I do.· I actually remember           ·1· ·without it being very expensive because it
·2· ·Mr. Stoner.                                         ·2· ·could be just done on Zoom.
·3· · · · Q.· ·And are you familiar with certain         ·3· · · · Q.· ·Dr. Treacy, I want to shift now, and
·4· ·criticisms that were made of your opinions by       ·4· ·I want to ask you questions about the
·5· ·way of the questions posed to you during that       ·5· ·evaluation of impact of child sexual abuse on a
·6· ·deposition?                                         ·6· ·person.
·7· · · · A.· ·Yes, I am.                                ·7· · · · A.· ·Okay.
·8· · · · Q.· ·What were those criticisms?               ·8· · · · Q.· ·What, if any, experience do you have
·9· · · · A.· ·That what I'm suggesting is just          ·9· ·in assessing the impact of child sexual abuse?
10· ·unwieldy because of the size of this                10· · · · A.· ·Each one of my kids I test for it.
11· ·population.                                         11· · · · Q.· ·What about adult survivors?
12· · · · Q.· ·How do you respond to those               12· · · · A.· ·Same thing.· I don't know that
13· ·criticisms?                                         13· ·they're survivors when they come in the door.
14· · · · A.· ·I just have to respond by saying, you     14· ·That has to be assessed.
15· ·know -- I don't want to sound like preaching        15· · · · · · · · · The -- the testing is the way to
16· ·here.                                               16· ·do it.· I mean, the tests are available now.
17· · · · · · · · · But I have really guided my          17· ·It's not like -- at the beginning of my career,
18· ·career, and I have to keep that up.· I'm a          18· ·none of this stuff was out here.
19· ·teacher and I teach, and I'm here as an expert      19· · · · · · · · · To me, the testing is really --
20· ·to teach.                                           20· ·it's objective.· You could have -- you know, I
21· · · · · · · · · Just because something is a big      21· ·could give another ten psychologists this --
22· ·job doesn't mean you have -- do it in a             22· ·you know, this test and they would come up with
23· ·half-ass way.· I don't want to be rude.· But        23· ·the same score.
24· ·it's a big job, then you figure out how to do       24· · · · · · · · · And so it's not as subjective
25· ·it right.                                           25· ·like a Rorschach or something like that where
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·1· · · · · · · · · The only way I know how to do an     ·1· ·you could get ten different opinions.
·2· ·assessment, whether or not it's a real case or      ·2· · · · · · · · · So, you know, these tests have
·3· ·it's not a real case, is by doing interviewing      ·3· ·been normed.· They've been validated.· Their
·4· ·and testing.· So just because something is big,     ·4· ·reliability has been assessed.· Their validity
·5· ·you shouldn't throw out the solution if it's        ·5· ·has been assessed.· So it seems to me they
·6· ·difficult.                                          ·6· ·should be used.
·7· · · · Q.· ·Dr. Treacy, as a practicing               ·7· · · · Q.· ·Do you use these objective tests when
·8· ·psychologist, a court-appointed neutral, a          ·8· ·you evaluate for child sexual abuse?
·9· ·forensic evaluator, are there best practices        ·9· · · · A.· ·For child sexual abuse in both adults
10· ·that you could recommend to the Court               10· ·and children, I utilize the test.
11· ·concerning how to efficiently and effectively       11· · · · · · · · · Now, the TSI is for adults.· So
12· ·conduct these interviews and objective testing?     12· ·I don't use that with the children.· I use a
13· · · · A.· ·I think that probably the trustee or      13· ·trauma symptom checklist for children.
14· ·the judge could coordinate with a national          14· · · · Q.· ·And what about when you're a
15· ·organization that has people who could do           15· ·court-appointed neutral?· Do you use the
16· ·proper testing around the country and that they     16· ·objective tests then?
17· ·know how to do these evaluations, and they          17· · · · A.· ·Every single case.· Every single
18· ·would refer the cases out to these experts          18· ·case.
19· ·around the country and partner with that            19· · · · Q.· ·What about when you're involved with
20· ·organization to get this job done properly and      20· ·child protective cases?
21· ·have some level of supervision over it.             21· · · · A.· ·Every single case.
22· · · · · · · · · You know, we're able now to do       22· · · · Q.· ·So let me see if I understand this,
23· ·the Zoom stuff.· So theoretically, you know,        23· ·Dr. Treacy.
24· ·people -- the people doing the actual               24· · · · · · · · · The interviews and the tests
25· ·interviewing and testing could be supervised        25· ·assess reliability?


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·1· · · · A.· ·Yes.                                      ·1· ·page and know how somebody is doing.
·2· · · · Q.· ·But the tests also measure the degree     ·2· · · · Q.· ·Based upon your experience, is a best
·3· ·of impact of abuse on a claimant?                   ·3· ·practice to administer these objective tests
·4· · · · A.· ·Correct.                                  ·4· ·when you meet with adult survivors of child
·5· · · · Q.· ·Do you recall -- so you've referenced     ·5· ·sexual abuse?
·6· ·these two types of tests, the TSI-2 and the         ·6· · · · A.· ·It is best practice to do so.
·7· ·DAPS, correct?                                      ·7· · · · Q.· ·Now, Dr. Treacy, do these tests, the
·8· · · · A.· ·Correct.                                  ·8· ·TSI-2 and the DAPS tests, assess the impact of
·9· · · · Q.· ·And based upon your experience, what      ·9· ·child sexual abuse at the time it occurs or,
10· ·about these tests that you recommend here make      10· ·for an adult who alleges abuse when he was a
11· ·them appropriate tools for assessing the impact     11· ·child, in present day form, present-day terms?
12· ·of child sexual abuse when people were              12· · · · A.· ·The DAPS does both.· The DAPS has
13· ·children?                                           13· ·what's called peritraumatic distress,
14· · · · A.· ·It allows you to assess the various       14· ·peritraumatic dissociation.· The DAPS has two
15· ·areas of impact.· It allows to you assess such      15· ·scales.
16· ·things as posttraumatic stress and then even,       16· · · · · · · · · "Peritraumatic" means during the
17· ·within posttraumatic stress, the various            17· ·trauma.· So the DAPS does have two scales that
18· ·symptom clusters that you have because you have     18· ·measures at the time of the trauma as well as
19· ·intrusion, intrusive thoughts; you have             19· ·the present day.· The TSI does not.
20· ·avoidance, trying to push the material away;        20· · · · · · · · · However, the TSI is stronger on
21· ·and you have physiological arousal, not sexual      21· ·its validity scales, because that was
22· ·arousal but hyper, you know, that they react to     22· ·specifically what was worked on for the second
23· ·environmental stuff, so -- and total                23· ·version of the TSI.
24· ·posttraumatic stress.                               24· · · · Q.· ·Now, Dr. Treacy, I want to go back to
25· · · · · · · · · So you could examine within          25· ·the TDPs.
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·1· ·posttraumatic stress, but you could also look       ·1· · · · · · · · · What provisions in the TDPs, if
·2· ·at things like substance abuse.· And that's         ·2· ·any, in your view, assist with the evaluation
·3· ·very important in this population because           ·3· ·of the impact that alleged child sexual abuse
·4· ·that's how a lot of these folks cope is they        ·4· ·has had on any of the adult claimants in this
·5· ·dissociate by drinking or drugging.                 ·5· ·case?
·6· · · · · · · · · And so that can be assessed, and     ·6· · · · A.· ·The section of the TDP that pertains
·7· ·that's very important in their current              ·7· ·to this was the revision that would allow the
·8· ·day-to-day life.                                    ·8· ·trustee to require -- well, at the present, it
·9· · · · · · · · · You can assess their anxiety.        ·9· ·says the trustee has the option to say that the
10· ·You can assess their depression.· You can           10· ·six-hour sworn mental health evaluation would
11· ·assess if they're having sexual dysfunction.        11· ·have to be done.
12· ·You can assess if they have poor                    12· · · · · · · · · My recommendation is that,
13· ·self-reference.                                     13· ·rather than saying six-hour mental health
14· · · · · · · · · It's a marvelous way, and it         14· ·evaluation, say specifically a sexual abuse
15· ·will give guidance to folks who want to go into     15· ·evaluation as well as the -- evaluating the
16· ·counseling or therapy to help themselves feel       16· ·impact of the trauma using objective tests,
17· ·better about themselves after this is all said      17· ·such as the TSI-2 and the DAPS.
18· ·and done.· The tests are guidance.                  18· · · · Q.· ·In your experience as a
19· · · · · · · · · And they allow you to rate the       19· ·court-appointed neutral with law enforcement
20· ·level of severity of the posttraumatic stress       20· ·and with government agencies like child
21· ·as mild, moderate, or severe.                       21· ·protective services, Dr. Treacy, have you ever
22· · · · · · · · · So the tests have an objective       22· ·determined that allegations of child sexual
23· ·number.· Because they're normed, they have a        23· ·abuse were not reliable?
24· ·T-score, and they have standard deviation.· So      24· · · · A.· ·Yes, I have.
25· ·I can literally sit and look at the scoring         25· · · · Q.· ·Based upon your 45 years of


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·1· ·experience with child sexual abuse evaluations,     ·1· ·running around doing poorly at school.· Dad
·2· ·can you provide us with an estimate of how          ·2· ·says, "You're not going to hang around with
·3· ·often over the years you have concluded that        ·3· ·that kid anymore.· You've got to come straight
·4· ·the allegations were unreliable?                    ·4· ·home from school."
·5· · · · A.· ·Yes, I can.· It's about 40 to             ·5· · · · · · · · · Then the bad kid's friend tells
·6· ·45 percent of the allegations.· But, again, I       ·6· ·him, "Go to the guidance counselor and say your
·7· ·have to say that, with the caveat, I don't get      ·7· ·dad touched you, and then you can come hang out
·8· ·your normal run-of-the-mill case.· I tend to        ·8· ·me."
·9· ·get the cases that are at the extreme end of        ·9· · · · · · · · · Secondary gain motive is to be
10· ·the normal bell curve.                              10· ·able to go hang out with the bad friend.
11· · · · · · · · · So I get more extreme cases          11· · · · · · · · · Mom and Dad broke up.· Mom wants
12· ·than -- I wouldn't call my cases average.· So I     12· ·to leave the state.· Sex abuse allegation comes
13· ·don't think that 40 to 45 percent would pertain     13· ·up.
14· ·to, like, an emergency room setting or it           14· · · · · · · · · These are examples of secondary
15· ·wouldn't pertain necessarily to a mental health     15· ·gain motive.
16· ·clinic.· It would pertain probably to people        16· · · · · · · · · In this case -- and I know all
17· ·like myself around the country who really have      17· ·the lawyers have gone back and forth to say,
18· ·been doing this for a long time.                    18· ·well, every case that's a trial case is -- you
19· · · · Q.· ·Now, in your experience as a              19· ·know, a tort case -- I think I heard that
20· ·psychologist, a court-appointed neutral, and an     20· ·word -- is always about money.
21· ·investigator of child sexual abuse matters,         21· · · · · · · · · But in this instance, money is
22· ·what weight do you afford self-reported             22· ·the secondary gain motive.· And so that needs
23· ·allegations and self-reported information as        23· ·to be ruled in or ruled out.· And that can't be
24· ·compared to the results of the objective tests,     24· ·ruled in or ruled out by checking a box.· It
25· ·the TSI-2 and the DAPS tests, concerning            25· ·has to be person-to-person contact evaluating
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·1· ·reliability of these allegations?                   ·1· ·that particular motive.
·2· · · · A.· ·I can't put any weight on self-report     ·2· · · · Q.· ·Dr. Treacy, did you see or hear any
·3· ·unless it's investigated, unless it's               ·3· ·of the testimony of the claimants' attorneys
·4· ·corroborated by objective testing and by            ·4· ·that were played before the Court?
·5· ·interviewing.                                       ·5· · · · A.· ·No, I didn't hear any of that.
·6· · · · Q.· ·Now, I want to ask you a similar          ·6· · · · Q.· ·Will you offer any opinions about the
·7· ·question, but now I want to focus specifically      ·7· ·process any of the claimants' attorneys in this
·8· ·on the evaluation of impact of child sex abuse      ·8· ·proceeding used for obtaining information from
·9· ·of a particular person.                             ·9· ·their clients about allegations of child sexual
10· · · · · · · · · In your experience as a              10· ·abuse?
11· ·psychologist, as a court-appointed neutral, and     11· · · · A.· ·No.· No.· I have no opinion about
12· ·as an investigator working on forensic cases        12· ·that.
13· ·for law enforcement, what weight do you afford      13· · · · Q.· ·Dr. Treacy, why do you feel so
14· ·self-reported information as compared to the        14· ·strongly about requiring the TDP to include a
15· ·results of the testing that you've described?       15· ·process for interviews and objective testing of
16· · · · A.· ·I can't put any weight on it and          16· ·claimants?
17· ·especially -- especially in situations where        17· · · · A.· ·The reason I feel so strongly about
18· ·there's potential of secondary gain.                18· ·this is that I've dedicated my entire career
19· · · · Q.· ·What do you mean by "secondary gain"?     19· ·towards trying to help victims.· And I believe
20· · · · A.· ·Secondary gain is when somebody says      20· ·the real victims in this case deserves to be
21· ·that something happened to them when it really      21· ·compensated well for what they have and that
22· ·did not happen to them but for another -- what      22· ·that money should not be diluted by potential
23· ·we refer to as secondary gain motivation.           23· ·fraud.
24· · · · · · · · · So, for example -- I'll give a       24· · · · · · · · · So, in my opinion, the real
25· ·couple of examples.· You have a teenager who's      25· ·victims deserve to be well compensated, and the


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·1· ·people who are fraudulent deserve nothing.          ·1· ·my tea?
·2· · · · · · · · · MS. WARNER:· I have no further       ·2· · · · Q.· ·No, not at all.
·3· · · · questions at this time.                        ·3· · · · A.· ·Thank you.
·4· · · · · · · · · I pass the witness.                  ·4· · · · Q.· ·So, Dr. Treacy, did you do anything
·5· · · · · · · · · THE COURT:· Thank you.               ·5· ·to familiarize yourself with the BSA's
·6· · · · · · · · · Mr. Stoner.                          ·6· ·prepetition practices for resolving sexual
·7· · · · · · · · · MR. STONER:· Good afternoon,         ·7· ·abuse claims?
·8· · · · Your Honor.· Michael Stoner with Haynes        ·8· · · · A.· ·No.
·9· · · · and Boone for the debtors.                     ·9· · · · Q.· ·Did you look at whether the BSA's
10· · · · · · · · · · · -· ·-· ·-                        10· ·defense counsel required clinical interviews
11· · · · · · · · E X A M I N A T I O N                  11· ·for the purposes of settling claims?
12· · · · · · · · · · · -· ·-· ·-                        12· · · · A.· ·I don't know.· I did not -- I have no
13· ·BY MR. STONER:                                      13· ·knowledge about that.
14· · · · Q.· ·Dr. Treacy, it's nice to see you          14· · · · Q.· ·Did you look at whether or not the
15· ·again.                                              15· ·BSA's insurance companies required that
16· · · · A.· ·Nice to see you as well.                  16· ·claimants sit for clinical interviews for the
17· · · · Q.· ·So, Dr. Treacy, I wanted to talk to       17· ·purposes of settling claims?
18· ·you a little bit about your experience with         18· · · · A.· ·No.
19· ·trust distribution procedures.                      19· · · · Q.· ·And you don't know whether or not the
20· · · · · · · · · Aside from this case, do you         20· ·BSA's defense lawyers required the testing that
21· ·have any experience with trust distribution         21· ·you referenced in your opinion before
22· ·procedures?                                         22· ·settling --
23· · · · A.· ·None.                                     23· · · · A.· ·No, I don't.· I don't know
24· · · · Q.· ·You've never consulted on procedures      24· ·anything -- anything that the BSA has done in
25· ·for what should be included in a trust              25· ·the past in handling these kind of cases.
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·1· ·distribution procedure?                             ·1· · · · Q.· ·And are you aware that the BSA did,
·2· · · · A.· ·No.· This is the first time I've ever     ·2· ·in fact, settle claims without relying on
·3· ·done anything like this at all.                     ·3· ·clinical interviews?
·4· · · · Q.· ·When you were forming your opinion,       ·4· · · · A.· ·No, I'm not aware of that.
·5· ·did you look at any other mass tort trust           ·5· · · · Q.· ·And are you aware of the fact that
·6· ·distribution procedures?                            ·6· ·the BSA did, in fact, settle claims without
·7· · · · A.· ·I wouldn't even know where to begin.      ·7· ·requiring the objective testing that you
·8· ·I didn't even have that thought.                    ·8· ·mentioned?
·9· · · · Q.· ·And you have no experience                ·9· · · · A.· ·Nope.· I didn't know that either.
10· ·administering a settlement trust, correct?          10· · · · Q.· ·Are you familiar -- do you have an
11· · · · A.· ·Oh, no, I don't.                          11· ·awareness of the fact that the BSA's goals in
12· · · · Q.· ·And you've never consulted with a         12· ·drafting the TDP were to emulate its
13· ·settlement trustee with respect to                  13· ·prepetition practices?
14· ·administering a settlement trust, correct?          14· · · · A.· ·No.· I didn't have -- that's out of
15· · · · A.· ·Correct.                                  15· ·my realm.
16· · · · Q.· ·And you have never provided any           16· · · · · · · · · MR. STONER:· Can you put up
17· ·opinions before with respect to what should be      17· · · · Mr. Azer's declaration at page 2.
18· ·included in a trust distribution procedure,         18· ·BY MR. STONER:
19· ·correct?                                            19· · · · Q.· ·I'll direct you to paragraph 5, the
20· · · · A.· ·That's correct.                           20· ·second sentence.
21· · · · Q.· ·Have you ever been involved in            21· · · · A.· ·Can you make it a bit bigger, please?
22· ·creating a framework for resolving thousands of     22· · · · Q.· ·Yeah.· And I'll read for you the
23· ·sexual abuse claims?                                23· ·relevant sentence.
24· · · · A.· ·No.· No, I have not.                      24· · · · A.· ·Okay.· You said 5?
25· · · · · · · · · Do you mind if I take a sip of       25· · · · Q.· ·Yeah.· "The operative TDP were


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·1· ·designed by the debtors to emulate, to the          ·1· ·examinations of all the claimants useful in
·2· ·greatest extent practicable, the prepetition        ·2· ·resolving sexual abuse claims?
·3· ·practices of the BSA and its insurance              ·3· · · · A.· ·You just said "medical evaluations"?
·4· ·companies for investigating, evaluating,            ·4· · · · Q.· ·Yes.
·5· ·valuing, and resolving direct abuse claims."        ·5· · · · A.· ·Yes.
·6· · · · · · · · · Did I read that correctly?           ·6· · · · · · · · · MR. STONER:· We can take that
·7· · · · A.· ·Yes, you did.                             ·7· · · · down.
·8· · · · Q.· ·And since you didn't do anything to       ·8· ·BY MR. STONER:
·9· ·familiarize yourself with the BSA's prepetition     ·9· · · · Q.· ·Now, in your report, you refer to the
10· ·practices, you can't say, one way or another,       10· ·need for clinical interviews and testing due to
11· ·whether the TDPs are consistent with the BSA's      11· ·the secondary gain motive, correct?
12· ·prepetition practices, correct?                     12· · · · A.· ·In part, due to the secondary gain
13· · · · A.· ·That's correct.                           13· ·motive.
14· · · · Q.· ·And so none of your testimony is tied     14· · · · Q.· ·And the existence of a financial
15· ·to the actual practices that the BSA and its        15· ·secondary gain motive would be no different in
16· ·insurers had with respect to resolving abuse        16· ·the TDPs than it would be in a lawsuit,
17· ·claims, correct?                                    17· ·correct?
18· · · · A.· ·That's correct.                           18· · · · A.· ·Correct.
19· · · · Q.· ·I'd like to direct your attention to      19· · · · Q.· ·And it would be no different than a
20· ·the day 2 transcript.· This is Mr. Griggs'          20· ·demand letter?
21· ·testimony.                                          21· · · · A.· ·I'm not quite sure what a demand
22· · · · · · · · · Do you know who Mr. Griggs is?       22· ·letter is.
23· · · · A.· ·No.                                       23· · · · Q.· ·Well, if a claimant wrote a letter
24· · · · Q.· ·Bruce Griggs is the national              24· ·saying, "I was abused, and I don't want to file
25· ·coordinating counsel for the Boy Scouts of          25· ·a lawsuit yet, but I want you to pay me money
                                              Page 251                                                 Page 253
·1· ·America.· He was a witness in this case.            ·1· ·to resolve the claim."
·2· · · · · · · · · MR. STONER:· Can we go to            ·2· · · · A.· ·Okay.· Okay.· There would be a
·3· · · · page 154, please.                              ·3· ·secondary gain motive in that as well.
·4· ·BY MR. STONER:                                      ·4· · · · Q.· ·And there would be no difference
·5· · · · Q.· ·And I'll direct your attention to         ·5· ·between a secondary gain motive in those
·6· ·line 18.                                            ·6· ·various situations, correct?
·7· · · · · · · · · It says:· "Okay.· The first was      ·7· · · · A.· ·Correct.
·8· ·a mental health expert.· Do you recall that?"       ·8· · · · Q.· ·And so the BSA and its insurers, on a
·9· · · · · · · · · His answer was:· "Right.· So we      ·9· ·prepetition basis, were involved with claims
10· ·thought that would be a useful examination.· We     10· ·that implicated a secondary gain motive,
11· ·retained a mental health expert, typically in       11· ·correct?
12· ·the jurisdiction where the case filed, to have      12· · · · A.· ·Yes.
13· ·them do an examination."                            13· · · · Q.· ·And based on the testimony that
14· · · · · · · · · MR. STONER:· Can you go to the       14· ·you've seen, they resolved those claims without
15· · · · next page, Pete.                               15· ·requiring claimant interviews, correct?
16· · · · · · · · · "But it typically did not happen     16· · · · A.· ·Well, you just showed me something
17· · · · in every case, and it typically wasn't         17· ·that said that there was a mental health
18· · · · very useful."                                  18· ·component that was built in.· But it didn't say
19· ·BY MR. STONER:                                      19· ·it was sexual abuse specializing -- or
20· · · · Q.· ·Do you see that testimony?                20· ·specifically.· That's a better word.
21· · · · A.· ·I do.                                     21· · · · · · · · · So they did try to do some type
22· · · · Q.· ·Did I read that correctly?                22· ·of interviewing that didn't seem to work out,
23· · · · A.· ·You did.                                  23· ·according to that witness.
24· · · · Q.· ·So based on this testimony, would you     24· · · · Q.· ·Right.· He said it wasn't very
25· ·agree that Mr. Griggs would not find medical        25· ·useful, correct?


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·1· · · · A.· ·Correct.                                  ·1· ·if she found it helpful, correct?
·2· · · · Q.· ·So I'll direct your attention to          ·2· · · · A.· ·Well, it says here "requested."· It
·3· ·Article VII.A. of the trust distribution            ·3· ·doesn't say "required."
·4· ·procedures.· We'll pull it up on the screen.        ·4· · · · Q.· ·Okay.· So if we go down to the next
·5· · · · A.· ·Okay.                                     ·5· ·sentence -- or if we go down to the bottom of
·6· · · · · · · · · MR. STONER:· It's JTX1-353, and      ·6· ·the page, it says:· "No recovery will be
·7· · · · we're going to page 162.                       ·7· ·provided to an abuse claimant that" -- if we go
·8· ·BY MR. STONER:                                      ·8· ·to the next page -- "does not timely submit a
·9· · · · Q.· ·And I believe the second sentence         ·9· ·questionnaire.· The abuse claimant's breach or
10· ·starts "In order to properly make a trust claim     10· ·failure to comply with the terms of his or her
11· ·submission, each submitting abuse claimant          11· ·agreement made in connection with his or her
12· ·must" -- and if we go down to romanette             12· ·trust claim submission shall be grounds for
13· ·number iii -- "execute an agreement to be           13· ·disallowance or significant reduction of his or
14· ·provided or made available by the settlement        14· ·her abuse claim."
15· ·trust with the questionnaire" -- and then going     15· · · · · · · · · Do you see that?
16· ·down to ii -- "consent to and agree to              16· · · · A.· ·I do.
17· ·cooperate in any examinations requested by the      17· · · · Q.· ·So the settlement trustee may not be
18· ·settlement trustee, including by healthcare         18· ·able to compel an interview, but they can
19· ·professionals selected by the settlement            19· ·reduce or disallow the claim if the claimant
20· ·trustee."                                           20· ·refuses to cooperate, correct?
21· · · · · · · · · Do you see that provision?           21· · · · A.· ·Yes.· This looks to me like it's
22· · · · A.· ·I do.                                     22· ·about submitting a questionnaire, not
23· · · · Q.· ·Do you have a view as to whether or       23· ·necessarily about getting an interview or
24· ·not a clinical interview would constitute an        24· ·testing.
25· ·examination?                                        25· · · · Q.· ·Well, I think there are two
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·1· · · · A.· ·Probably so.· I don't -- you know,        ·1· ·provisions.· The first sentence deals with the
·2· ·I'm not an attorney.· So if somebody said to me     ·2· ·questionnaire.
·3· ·"Would you consider the evaluation that you did     ·3· · · · A.· ·Okay.
·4· ·to be an examination of sexual abuse?" I would      ·4· · · · Q.· ·And then the second sentence deals
·5· ·say yes.                                            ·5· ·with the terms of his or her agreement made in
·6· · · · Q.· ·And what about the objective testing?     ·6· ·connection with his or her trust claim
·7· ·Would you consider that an examination?             ·7· ·submission.
·8· · · · A.· ·I would consider that to be part of       ·8· · · · A.· ·Okay.· Okay.
·9· ·the examination, yes.                               ·9· · · · Q.· ·And do you recall that one of the
10· · · · Q.· ·Okay.· And it says here that the          10· ·things that they had to agree to was to consent
11· ·abuse claimant must consent to and agree to         11· ·to any medical examinations by the settlement
12· ·cooperate in any examinations requested by the      12· ·trustee?
13· ·settlement trustee, correct?                        13· · · · A.· ·Any examinations, not just medical.
14· · · · A.· ·That's correct.· I know that from         14· · · · Q.· ·Right.
15· ·reading it before, but I don't see it now.          15· · · · A.· ·Okay.
16· · · · · · · · · Is it also here?                     16· · · · Q.· ·And so based on this, the settlement
17· · · · Q.· ·It's in Section ii, consent to and        17· ·trustee has the ability to either compel -- the
18· ·agree to cooperate in any examinations.             18· ·settlement trustee has the ability to either
19· · · · A.· ·Okay.· That's --                          19· ·perform the testing and the interviews that you
20· · · · Q.· ·So there's no limitations to the type     20· ·recommended or reduce or disallow the claim,
21· ·of examinations that the settlement trustee can     21· ·correct?
22· ·request under these TDP, correct?                   22· · · · A.· ·Yes, that's true.
23· · · · A.· ·That's correct.                           23· · · · Q.· ·And so it seems to me that the major
24· · · · Q.· ·And the settlement trustee would have     24· ·difference between what you've outlined in your
25· ·the discretion to require clinical interviews       25· ·testimony and what the TDPs currently provide


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·1· ·for is that the settlement trustee should not       ·1· ·about the reliability of a claimant's report in
·2· ·have any discretion as to whether or not to         ·2· ·your direct testimony.
·3· ·require the testing and the interviews and they     ·3· · · · · · · · · Can you explain to me --
·4· ·should be mandated, correct?                        ·4· ·reliability doesn't allow you to make a
·5· · · · A.· ·Yes.                                      ·5· ·determination as to whether or not the abuse
·6· · · · Q.· ·And you're saying that -- and this is     ·6· ·occurred, correct?
·7· ·your opinion even though you've never been          ·7· · · · A.· ·That's correct.· But it helps making
·8· ·involved in the administration of a settlement      ·8· ·that determination.
·9· ·trust?                                              ·9· · · · Q.· ·And it would be an ethical breach, I
10· · · · A.· ·Yes.· Because this is best practices,     10· ·believe you testified in your deposition, for
11· ·so it would have to be across the board.            11· ·you to make that determination, correct?
12· · · · Q.· ·And this is your opinion even though,     12· · · · A.· ·You're absolutely correct.
13· ·historically, the BSA and its insurance             13· · · · · · · · · I cannot go to the ultimate
14· ·companies resolved claims without requiring         14· ·issue.· The only parties that can go to the
15· ·this testimony?                                     15· ·ultimate issue is a judge and a jury.
16· · · · A.· ·Correct.                                  16· · · · · · · · · It's not -- it's not --
17· · · · Q.· ·And this is your opinion even though      17· ·psychologists are not allowed to do that.· The
18· ·you haven't considered any impact on the            18· ·clause in our ethical canon is called "beyond
19· ·aggregate cost on the settlement trust?             19· ·competency."
20· · · · A.· ·That's true.                              20· · · · · · · · · So what we're doing -- if we're
21· · · · Q.· ·And you haven't considered any impact     21· ·doing that, we're making a legal determination
22· ·on the aggregate time it will take to               22· ·even though we're not trained to do so.· So
23· ·administer the settlement trust, correct?           23· ·that's why it would be considered a violation
24· · · · A.· ·For all 82,000 people, no, I have         24· ·of ethics.
25· ·not.                                                25· · · · Q.· ·So, at most, it would be just a data
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·1· · · · Q.· ·And is it your testimony -- is it         ·1· ·point for the settlement trustee to consider in
·2· ·your opinion that the -- let me take a step         ·2· ·making the evaluation, correct?
·3· ·back.                                               ·3· · · · A.· ·I think you're minimizing it a little
·4· · · · · · · · · You're aware that the TDP also       ·4· ·bit, but I'll say okay.
·5· ·provide for an expedited trust distribution         ·5· · · · Q.· ·And the settlement trustee can
·6· ·mechanism, correct?                                 ·6· ·provide whatever weight he or she wants to give
·7· · · · A.· ·I am aware of that.                       ·7· ·to that report, correct?
·8· · · · Q.· ·This wasn't addressed in your direct      ·8· · · · A.· ·I assume so, yes.
·9· ·testimony, but is it your opinion that those        ·9· · · · Q.· ·And so the settlement trustee can
10· ·claimants who elect for the expedited trust         10· ·exercise the discretion as to how much value to
11· ·distribution should be required to go through       11· ·put on that report in making the decisions,
12· ·the clinical interview?                             12· ·correct?
13· · · · A.· ·No.· I think that -- I don't think        13· · · · A.· ·Yes.
14· ·that that would be necessary for that               14· · · · · · · · · By "value," you mean weight or
15· ·population.                                         15· ·money or --
16· · · · Q.· ·And the same question -- and for that     16· · · · Q.· ·Well, with respect -- it can be
17· ·population, it would also not be necessary to       17· ·either to the weight of any of the factors, the
18· ·go through the objective testing, correct?          18· ·overall valuation of the claim, any of the
19· · · · A.· ·Correct.                                  19· ·decisions that the settlement trustee is making
20· · · · Q.· ·So this -- so your opinion would only     20· ·with respect to the administration of a trust
21· ·relate to those claimants seeking to resolve        21· ·claim submission.
22· ·their claim through a trust claim submission or     22· · · · A.· ·Okay.· I understand.
23· ·the independent review option, correct?             23· · · · Q.· ·And so since the settlement trustee
24· · · · A.· ·Correct.                                  24· ·is going to be -- have the discretion as to the
25· · · · Q.· ·Now, one of the -- you talked a lot       25· ·value of the report and the testing in making


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·1· ·its decision-making, wouldn't it make sense for     ·1· ·being a psychologist and my ethical canon.
·2· ·the settlement trustee to also have the             ·2· · · · · · · · · And that question that you asked
·3· ·discretion as to whether to require that            ·3· ·me really is something that the lawyers would
·4· ·testing?                                            ·4· ·have to work that out.
·5· · · · A.· ·I don't know.· I don't know.              ·5· · · · Q.· ·Why can't you answer that question
·6· ·Because, again, I said I had to do this by best     ·6· ·with respect to your opinion as a psychologist?
·7· ·practices.· And I don't know how trained            ·7· · · · A.· ·Because I have to go to the top bar.
·8· ·everybody is on these kind of things.               ·8· ·You know, I have to treat these people who are
·9· · · · · · · · · That's kind of why I'm here          ·9· ·making these claims as if they were in my
10· ·today because it's more complicated -- sex          10· ·family, the way I'd want my family treated.
11· ·abuse is pretty complicated, and I don't know       11· · · · · · · · · And so holding the bar that high
12· ·what knowledge you require of these trustees.       12· ·means that I would prefer to have everybody
13· ·I don't have enough background to know.             13· ·evaluated properly.
14· · · · Q.· ·Do you know who the settlement            14· · · · Q.· ·So is it your testimony that your
15· ·trustee is -- do you know who the proposed          15· ·recommendations to the TDP are the top bar for
16· ·settlement trustee is in this case?                 16· ·evaluating the reliability of a claim?
17· · · · A.· ·I don't know who the person is, but I     17· · · · A.· ·Top bar psychologically, yes.
18· ·heard that they have a very good reputation and     18· · · · Q.· ·And you don't know whether or not the
19· ·that they are very trustworthy.                     19· ·BSA used the, quote, top bar on a prepetition
20· · · · Q.· ·And do you have any basis to believe      20· ·basis?
21· ·that the settlement trustee would not be able       21· · · · A.· ·I have no idea.
22· ·to determine when clinical interviews would be      22· · · · Q.· ·And you don't know whether --
23· ·useful to her evaluation of a claim under the       23· · · · A.· ·I don't know that there was some
24· ·TDP?                                                24· ·mental health person involved, but I don't know
25· · · · A.· ·I have trouble answering that because     25· ·what area -- their area of expertise was.· It
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·1· ·it's like a -- it's ambiguous to me because all     ·1· ·didn't say anything about sexual abuse
·2· ·I -- I know very little about this person.· And     ·2· ·specialization.
·3· ·I do want to be optimistic about this, but I'm      ·3· · · · Q.· ·And you don't have any opinion as to
·4· ·not quite sure I have enough information to be      ·4· ·whether the BSA's insurance companies, when
·5· ·able to answer your question.                       ·5· ·settling claims prepetition, required the top
·6· · · · Q.· ·So you don't know, one way or the         ·6· ·bar?
·7· ·other, whether or not the settlement trustee        ·7· · · · A.· ·Oh, I don't know.
·8· ·has the ability to decide whether or not a          ·8· · · · Q.· ·I believe, in one hearing, the
·9· ·clinical interview would be useful to her           ·9· ·recommendations that you made were referred to
10· ·evaluation of a claim?                              10· ·as the Rolls Royce of testing.
11· · · · A.· ·I would hope so.· I would hope so.        11· · · · · · · · · Would that be a fair
12· · · · Q.· ·And if the settlement trustee were        12· ·characterization?
13· ·able to make that determination as to whether       13· · · · · · · · · MS. WARNER:· Objection.· There's
14· ·or not clinical interviewing and objective          14· · · · no foundation for that here with regard to
15· ·testing would be useful to her evaluation of        15· · · · who made that comment.
16· ·the claim, would it, then, make sense to leave      16· · · · · · · · · THE COURT:· Sustained.
17· ·in her discretion whether or not to actually        17· ·BY MR. STONER:
18· ·expend the cost and time in pursuing that?          18· · · · Q.· ·Okay.· I'd like to talk a little bit
19· · · · A.· ·I think that's a lawyer question. I       19· ·about the testing that you described.
20· ·don't think I'm the person to try to answer         20· · · · · · · · · You described it as objective
21· ·that.· I think that has to be worked out with       21· ·testing, correct?
22· ·you folks.                                          22· · · · A.· ·Yes.
23· · · · Q.· ·Well, you're offering an opinion as       23· · · · Q.· ·And the basis for your opinion that
24· ·to revisions to the TDP, aren't you?                24· ·it's objective testing is because the scores
25· · · · A.· ·I am.· But I'm basing that on me          25· ·are normed, correct?


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·1· · · · A.· ·That's correct.                           ·1· · · · A.· ·Yes.· It has to do with the degree to
·2· · · · Q.· ·It's not because the inputs into the      ·2· ·which the person is experiencing a particular
·3· ·tests are objective, correct?                       ·3· ·behavior or symptom.
·4· · · · A.· ·No.· Because everybody would do this      ·4· · · · Q.· ·And there's no guidance in the
·5· ·objective -- like, if I said to you, "How           ·5· ·administration of the test as to whether or not
·6· ·many" -- let's say you were taking the test --      ·6· ·something would be considered "often" or "quite
·7· ·"How many times in the last month did you have      ·7· ·often," correct?
·8· ·anxiety?" and you say, "Often," that's your         ·8· · · · A.· ·No.· Unless the question was posed to
·9· ·perception of how frequent this is.· Okay.          ·9· ·the person administering the test.
10· · · · · · · · · So the person filling out the        10· · · · Q.· ·And, similarly, there would be no
11· ·test is going to have their own subjective          11· ·way --
12· ·evaluation of whatever the answer may be, but       12· · · · A.· ·The test -- may I just complete that
13· ·that doesn't make the test subjective.· It          13· ·answer.
14· ·makes it objective because it's normed, it's        14· · · · · · · · · The test assumes a sixth grade
15· ·validated, and it is reliable and that any          15· ·level of reading comprehension.
16· ·score has a particular meaning.                     16· · · · Q.· ·Well, two individuals could be
17· · · · Q.· ·But what I'm saying, it's not like        17· ·experiencing the same symptom, and one could
18· ·measuring blood pressure or taking a                18· ·think that it's experiencing it often and the
19· ·temperature where it's an objective number in       19· ·other experiencing it quite often even though
20· ·the input, correct?                                 20· ·they're experiencing it the same amount of
21· · · · A.· ·Let me give you an example.               21· ·time, correct?
22· · · · · · · · · IQ tests are objective tests         22· · · · A.· ·Yes.· And that's why we have the
23· ·because each person is answering the questions.     23· ·validity scales built in to measure that.
24· ·That's their own answer.· That would be             24· · · · Q.· ·I wanted to make sure I understood
25· ·considered subjective.· But IQ tests are            25· ·something with respect to the objective testing
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·1· ·considered objective tests.                         ·1· ·that we've been discussing.
·2· · · · · · · · · This is no different.· IQ tests      ·2· · · · · · · · · Tests don't provide any insight
·3· ·have a mean of 100 and a standard deviation of      ·3· ·into whether or not the abuse occurred,
·4· ·15.· The tests that I'm recommending have a         ·4· ·correct?
·5· ·standard mean of 50 and a standard deviation of     ·5· · · · A.· ·This is a good question because the
·6· ·10.                                                 ·6· ·tests are correlational.· They're not causal.
·7· · · · · · · · · So I would very much -- unless       ·7· · · · · · · · · So you cannot make from the
·8· ·somebody just said "no" on an IQ test -- and        ·8· ·test -- let's say somebody does the test.· They
·9· ·this is possible, to your point, that somebody      ·9· ·have a very high PTSD scale score.· All I can
10· ·could go in and say, "I don't know.· I don't        10· ·say -- again, this is my ethical canon.
11· ·know.· I don't know.· I don't know.· I don't        11· · · · · · · · · I cannot make a causal
12· ·know."· And they would get rated as being much      12· ·statement.· I can't say, "Because this person
13· ·lower than their competency because whoever was     13· ·was a victim of sexual abuse as a child, that
14· ·giving the test let them get away with that.        14· ·is the reason why they have a high PTSD score."
15· ·And they would score zero.                          15· · Because it's correlational data.
16· · · · · · · · · So that's the subjective piece       16· · · · · · · · · So the test is a correlational.
17· ·that goes to support your point.                    17· ·It's not causal.· So you are right.
18· · · · Q.· ·Well, you would agree that the inputs     18· · · · · · · · · And that's why, ethically, I
19· ·into the tests are subjective, correct?             19· ·can't go to the veracity issue, and I can't go
20· · · · A.· ·Yes.· The response to test items are      20· ·to the believability issue because of just that
21· ·subjective.                                         21· ·issue that you raised.· So that is a good
22· · · · Q.· ·And the answers that, I believe, that     22· ·question.
23· ·you give in these tests is things like "often,"     23· · · · Q.· ·And so when we're saying that they're
24· ·"quite often," "rare," something like that,         24· ·used to assess reliability, we're talking about
25· ·correct?                                            25· ·the reliability of the symptomatology; we're


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·1· ·not referring to the reliability with respect       ·1· ·referring to?
·2· ·to the underlying event?                            ·2· · · · A.· ·I don't know.
·3· · · · A.· ·You have to go back to the interview      ·3· · · · Q.· ·Okay.· So my recollection from your
·4· ·process.                                            ·4· ·deposition is that your hourly rate was $250 an
·5· · · · · · · · · If the interview process is          ·5· ·hour; is that correct?
·6· ·evaluating whether this person's statements are     ·6· · · · A.· ·That's for clinical work.· For -- my
·7· ·consistent with sexual abuse, we go back to our     ·7· ·hourly for this type of thing is 450 an hour.
·8· ·five sexual abuse dynamics.                         ·8· · · · Q.· ·Yeah.· Sorry.· I wasn't very clear on
·9· · · · · · · · · And that's where the reliability     ·9· ·that.
10· ·issue would pertain to the interview.· And          10· · · · · · · · · I was speaking about your
11· ·that's more about the sexual abuse dynamics.        11· ·clinical work.
12· ·The tests are more related to the impact.           12· · · · A.· ·Correct.
13· · · · Q.· ·Right.· The tests don't deal with the     13· · · · Q.· ·And conducting a claimant interview
14· ·reliability of whether or not the abuse             14· ·would fall within the clinical work basket,
15· ·occurred?                                           15· ·correct?
16· · · · A.· ·Correct.· That's correct.                 16· · · · A.· ·That's correct.
17· · · · · · · · · You can say that PTSD is             17· · · · Q.· ·And administer -- and scoring --
18· ·present.· And if you have particular                18· · · · A.· ·Scoring the test would probably take
19· ·PTSD-related or sexual symptomology, that           19· ·45 minutes to an hour for each one, but I'm
20· ·brings it a little bit closer, but it's not         20· ·not -- I'm not trying to promote myself to do
21· ·causal data.                                        21· ·these evaluations for everybody.· This is not a
22· · · · Q.· ·You refer -- you've referred several      22· ·self-promotion tour here.
23· ·times to your view that these are the best          23· · · · Q.· ·I'm not asking to you do them for
24· ·practices.                                          24· ·everybody because I am quite certain it would
25· · · · · · · · · Do you know if these are the         25· ·be an impossibility.
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·1· ·best practices for mass tort settlements?           ·1· · · · · · · · · But I just want to go through
·2· · · · A.· ·Oh, no.· I don't know anything about      ·2· ·and make sure I understand the time it will
·3· ·that, no.                                           ·3· ·take, the cost it will take for each of these
·4· · · · Q.· ·Do you know --                            ·4· ·recommendations.
·5· · · · A.· ·No, I don't --                            ·5· · · · A.· ·Okay.
·6· · · · Q.· ·I'm sorry.· Finish.                       ·6· · · · Q.· ·I believe, in your deposition, you
·7· · · · A.· ·This is a new land for me.· I'm in        ·7· ·indicated that a claimant interview would
·8· ·the land of family court and criminal court.        ·8· ·typically take approximately 60 to 90 minutes;
·9· ·This is not something that I have experienced       ·9· ·is that correct?
10· ·with a case that this is size.                      10· · · · A.· ·That's correct.· It would take --
11· · · · · · · · · I mean, I've done some Catholic      11· ·again, it depends on the degree of anxiety in
12· ·Church stuff.· That's similar.· But I haven't       12· ·the individual.
13· ·done anything like this.                            13· · · · · · · · · 60 to 90 minutes would be about
14· · · · Q.· ·So you don't know if these are the        14· ·appropriate.
15· ·best practices for trust distribution               15· · · · Q.· ·And I believe you testified that you
16· ·procedures, similarly, correct?                     16· ·typically would not review any documents before
17· · · · A.· ·Correct.                                  17· ·that, correct?
18· · · · Q.· ·And do you know whether these are the     18· · · · A.· ·Typically, yes.
19· ·best practices for claims in the tort system?       19· · · · Q.· ·But you would spend additional time
20· · · · A.· ·I have no idea.                           20· ·reviewing documents relating to the claim after
21· · · · Q.· ·And do you know whether anyone in the     21· ·the interview, correct?
22· ·tort system actually uses these interviews?         22· · · · A.· ·Correct.
23· · · · A.· ·I don't know.                             23· · · · Q.· ·And the amount of time that would
24· · · · Q.· ·Do you know whether, in the tort          24· ·take would depend on the amount of documents,
25· ·system, anyone uses the tests that you're           25· ·correct?


                                                                                      Reliable Court Reporting
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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
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·1· · · · A.· ·Yes.                                      ·1· · · · Q.· ·Okay.· So it was your view it's about
·2· · · · Q.· ·On average, can you approximate how       ·2· ·six hours for clinical interviews and --
·3· ·much time you spend reviewing documents after a     ·3· · · · A.· ·Scoring and report writing.
·4· ·claimant interview?                                 ·4· · · · Q.· ·-- scoring and testing and report
·5· · · · A.· ·You want me to try to average it out?     ·5· ·writing.
·6· ·Oh, boy.                                            ·6· · · · · · · · · So that would come out to
·7· · · · · · · · · Because I have some cases that       ·7· ·approximately $1,500, on average, per claim?
·8· ·have none, and I have some cases that I have        ·8· · · · A.· ·Are you multiplying that by 250?
·9· ·cartons and cartons.· I told you about the          ·9· · · · Q.· ·Yeah.
10· ·one-on-one.                                         10· · · · A.· ·Okay.· I'll trust your numbers.
11· · · · · · · · · For every hour -- I had a man in     11· · · · Q.· ·And I believe you testified that you
12· ·an institution.· He had so many intellectual        12· ·weren't recommending this for the entire sample
13· ·deficits and behavioral problems that they had      13· ·of claimants, just those not selecting the
14· ·to write it, no doubt, every hour by hand, not      14· ·expedited distribution trust, correct?
15· ·by computer.                                        15· · · · A.· ·Correct.
16· · · · · · · · · On average, I would say the          16· · · · Q.· ·And so taking out the approximately
17· ·review -- I would average it out to about           17· ·7,000 or so expedited trust distribution
18· ·between an hour and hour and a half.· If I had      18· ·claimants, 1,500 times 75,000 comes out to
19· ·to average the whole population from none up to     19· ·approximately $112,500,000.
20· ·the extreme, like the one I explained to you, I     20· · · · · · · · · Does that sound about right?
21· ·would say an hour, an hour and a half.              21· · · · A.· ·I have no idea.· I didn't do the
22· · · · · · · · · Often, in these cases, there's       22· ·math.
23· ·not a whole lot of documentation for the            23· · · · · · · · · And that hasn't been my task.
24· ·adults.                                             24· ·I'm not here to do the math.· I'm here to
25· · · · Q.· ·And then after that you would             25· ·provide my opinion about the interviewing and
                                              Page 275                                                 Page 277
·1· ·typically prepare a report to the person who        ·1· ·testing.
·2· ·retained you, correct?                              ·2· · · · Q.· ·I understand.
·3· · · · A.· ·Yes.                                      ·3· · · · · · · · · But there are real-world
·4· · · · Q.· ·And I believe that you indicated it       ·4· ·considerations that need to be -- there are
·5· ·would typically take approximately two hours to     ·5· ·real-world considerations, correct?
·6· ·prepare a report; is that correct?                  ·6· · · · A.· ·No, I understand that.· But that's
·7· · · · A.· ·It depends on the report, but I would     ·7· ·not my role here.
·8· ·say an hour and a half to two hours.                ·8· · · · Q.· ·Do you know if any -- do you know
·9· · · · Q.· ·So, on average, between 60 to             ·9· ·where that money will come from to implement
10· ·90 minutes for a clinical interview; 60 to          10· ·all of these recommendations?
11· ·90 minutes for document review, understanding       11· · · · A.· ·No.
12· ·that that can fluctuate based on the specific       12· · · · Q.· ·Do you know if any of the insurance
13· ·claim; and about an hour and a half to              13· ·companies that you are testifying on behalf of
14· ·two hours for writing a report.                     14· ·have offered to pay that amount?
15· · · · · · · · · Would it be conservative to say      15· · · · A.· ·I don't know.
16· ·that it would take about four hours total for a     16· · · · Q.· ·So I'm also going to take a look at
17· ·clinical interview of your time?                    17· ·the amount of time.
18· · · · A.· ·I would say between four and six,         18· · · · · · · · · I think you said between, I'll
19· ·depending on the experience with the scoring.       19· ·say, five hours for everything all in.· That's
20· · · · Q.· ·I'm sorry.· I'm only referring to a       20· ·the midpoint between four and six.
21· ·clinical interview right now, not scoring.          21· · · · · · · · · Fair enough?
22· · · · A.· ·Oh, I'm sorry.· I was thinking you        22· · · · A.· ·Fair enough.
23· ·were trying to put it all together.                 23· · · · Q.· ·So five hours times 75,000 claims.
24· · · · · · · · · I put it all together, and it        24· · · · · · · · · That's 375,000 hours.
25· ·became -- it was around six hours.                  25· · · · A.· ·Now, can I ask you something?· Why do


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
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·1· ·you think the expedited cases are only going to     ·1· · · · · · · · · · · -· ·-· ·-
·2· ·involve 7,000?                                      ·2· · · · · · · · · (Whereupon, a short recess was
·3· · · · Q.· ·I believe it because that's the           ·3· · · · · ·taken.)
·4· ·approximate number that have elected the            ·4· · · · · · · · · · · -· ·-· ·-
·5· ·expedited distribution.· That's why I'm telling     ·5· · · · · · · · · THE COURT:· Okay.· We're back on
·6· ·you that.                                           ·6· · · · the record.
·7· · · · A.· ·Oh, they elected?· That's already         ·7· · · · · · · · · Mr. Kornfeld.
·8· ·been established?· I didn't know that.              ·8· · · · · · · · · MR. KORNFELD:· Thank you,
·9· · · · · · · · · Okay.· I'll stop asking              ·9· · · · Your Honor.
10· ·questions.                                          10· · · · · · · · · · · -· ·-· ·-
11· · · · Q.· ·So if we take 375,000 hours and           11· · · · · · · · E X A M I N A T I O N
12· ·divide that by 2,000 business hours in a year,      12· · · · · · · · · · · -· ·-· ·-
13· ·that comes out to 187.5 years of work, which        13· ·BY MR. KORNFELD:
14· ·would be a lot of work, correct?                    14· · · · Q.· ·Alan Kornfeld for the TCC.
15· · · · A.· ·Yes.                                      15· · · · · · · · · Good afternoon, Dr. Treacy.
16· · · · Q.· ·And would likely have a significant       16· · · · A.· ·Good afternoon, Mr. Kornfeld.
17· ·delay on the resolution of these claims,            17· · · · Q.· ·I'm just going to have a few lines of
18· ·correct?                                            18· ·questions.
19· · · · A.· ·Again, I don't know what's the norm       19· · · · · · · · · First of all, you said you had
20· ·here in terms of resolution of these cases.· So     20· ·worked on a Catholic Church sexual abuse case.
21· ·I'm really not -- I know that you need to do        21· · · · · · · · · Was that a bankruptcy case that
22· ·this, but I'm not here for this purpose.· I'm       22· ·you worked on?
23· ·here really to try to help with the --              23· · · · A.· ·No.
24· · · · Q.· ·Are you aware of anyone who's --          24· · · · Q.· ·Are you aware that 27 Catholic
25· ·who's conducted this analysis about the impact      25· ·dioceses have filed for bankruptcy due to
                                              Page 279                                                 Page 281
·1· ·of the aggregate cost on the administration of      ·1· ·sexual abuse claims in the United States to
·2· ·the settlement trust?                               ·2· ·date?
·3· · · · A.· ·I don't know if anyone has.               ·3· · · · A.· ·I was aware of the number.· I didn't
·4· · · · Q.· ·Are you aware of anyone who has           ·4· ·know it was that specific number.· But I was
·5· ·conducted this sort of analysis with respect to     ·5· ·aware there were a few here in New York State.
·6· ·the impact of the aggregate time for the            ·6· · · · Q.· ·Indeed, there were.
·7· ·administration of the settlement trust?             ·7· · · · · · · · · Are you aware of any of those
·8· · · · A.· ·I don't know.                             ·8· ·Catholic diocese bankruptcies in New York State
·9· · · · · · · · · MR. STONER:· Okay.· I believe        ·9· ·where the court mandated interviews of the
10· · · · that is all that I have for you right now.     10· ·sexual abuse claimants?
11· · · · · · · · · THE WITNESS:· Thank you.             11· · · · A.· ·No, I have no awareness of any of
12· · · · · · · · · MR. STONER:· Thank you,              12· ·these procedures.
13· · · · Dr. Treacy.                                    13· · · · Q.· ·Are you aware that no court in any of
14· · · · · · · · · THE COURT:· Is there any other       14· ·the 27 sexual abuse bankruptcy cases that have
15· · · · cross?                                         15· ·been filed by Catholic entities has the court
16· · · · · · · · · I do see that.                       16· ·ordered interviews of any claimants?
17· · · · · · · · · Dr. Treacy, would you like a         17· · · · A.· ·No, I'm not aware of that.
18· · · · break?                                         18· · · · Q.· ·Are you aware that, in any of those
19· · · · · · · · · THE WITNESS:· I would like to        19· ·27 diocese bankruptcies, the courts have not
20· · · · make another cup of tea, if you don't mind     20· ·ordered testing -- whether it be DAPS, TSI, or
21· · · · waiting for that.                              21· ·any other testing -- of any of the claimants?
22· · · · · · · · · THE COURT:· Let's take ten           22· · · · A.· ·No, I'm not aware of that.
23· · · · minutes.                                       23· · · · Q.· ·Have you heard of the USA Gymnastics
24· · · · · · · · · THE WITNESS:· Okay.· Thank you.      24· ·bankruptcy that was due to the horrific sexual
25· · · · · · · · · THE COURT:· We're in recess.         25· ·abuse perpetrated by the team doctor?


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
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·1· · · · A.· ·I'm not aware of the bankruptcy. I        ·1· · · · A.· ·I do.
·2· ·was aware of the case in -- the criminal part       ·2· · · · Q.· ·Dr. Treacy, what would you suggest to
·3· ·of the case, but I don't have any knowledge         ·3· ·the settlement trustee -- who, indeed, as you
·4· ·bankruptcy.                                         ·4· ·testified, is well respected.
·5· · · · Q.· ·Well, there was a bankruptcy.             ·5· · · · · · · · · What should she include in that
·6· · · · · · · · · So you're not aware also, in         ·6· ·questionnaire?
·7· ·that bankruptcy, that the court did not order       ·7· · · · A.· ·She should include questions about
·8· ·interviews or testing of any of the sexual          ·8· ·the five sexual abuse dynamics and something to
·9· ·abuse claimants, correct?                           ·9· ·tap into symptomatology and the extent --
10· · · · A.· ·Correct.· I'm not aware of that.          10· · · · Q.· ·And what --
11· · · · · · · · · Is it okay with you too if I sip     11· · · · A.· ·Pardon.· -- the extent of this
12· ·my tea as we talk?                                  12· ·symptomatology.
13· · · · Q.· ·Of course.                                13· · · · Q.· ·Thank you.
14· · · · A.· ·I'm so used to having to ask              14· · · · · · · · · What questions should she ask to
15· ·permission in court.                                15· ·determine whether the claim is legitimate
16· · · · Q.· ·No.· I'm not wearing the black robes      16· ·versus, as you put it before, fraudulent?
17· ·here, and I have a feeling that the person who      17· · · · A.· ·I have a whole PowerPoint on that
18· ·is wouldn't be upset if you drink your tea too.     18· ·question that I developed.
19· · · · A.· ·Thanks.                                   19· · · · · · · · · If you remember, I testified
20· · · · Q.· ·Did any of the insured counsel who        20· ·that one of the counties here retained me in
21· ·retained you, Dr. Treacy, tell you that             21· ·defense of their cases about how to do
22· ·interviews are not required in any of the           22· ·depositions and how to get to that information.
23· ·sexual abuse bankruptcies that have taken place     23· · · · · · · · · But it all goes back to the five
24· ·in the United States to date?                       24· ·sexual abuse dynamics.· And I did two two-hour
25· · · · A.· ·No, they did not.                         25· ·presentations for them in training them to do
                                              Page 283                                                 Page 285
·1· · · · Q.· ·Have any of the insured counsel who       ·1· ·just what you're asking me.
·2· ·have retained you told you, Dr. Treacy, that,       ·2· · · · · · · · · So the short answer is we would
·3· ·in any of the sexual abuse bankruptcy cases         ·3· ·have to go back to my testimony about the
·4· ·that have been filed in the United States to        ·4· ·sexual abuse dynamics and ask questions about
·5· ·date, testing has not been required?                ·5· ·each one of them in a way that was open-ended.
·6· · · · A.· ·They did not.                             ·6· · · · Q.· ·Would you just briefly summarize what
·7· · · · Q.· ·So your testimony today is not about      ·7· ·those sexual abuse dynamics for us are, please?
·8· ·what the practices are in bankruptcy sexual         ·8· · · · A.· ·Sure.
·9· ·abuse cases, correct?                               ·9· · · · · · · · · The first is engagement.· What
10· · · · A.· ·My testimony is not specific to the       10· ·was the relationship of the offender before the
11· ·bankruptcy.· It's just general testimony about      11· ·touching started?· What kind of contact did you
12· ·how you can assess whether or not there's           12· ·have with the offender?· What other kinds of
13· ·sexual abuse.                                       13· ·things did you do with the offender?· Was there
14· · · · Q.· ·And it's not about anything that has      14· ·any exchange of any goods or goodies in the
15· ·been done in any bankruptcy case, correct?          15· ·process of getting to know the offender?· How
16· · · · A.· ·According to your representation, I       16· ·was the offender different from other adults
17· ·would say you're correct.                           17· ·that you had been around?· That would go to
18· · · · Q.· ·Thank you.                                18· ·engagement.
19· · · · · · · · · Dr. Treacy, you were asked about     19· · · · · · · · · The sexual interaction.· How did
20· ·the questionnaire that is going to be used to       20· ·the touching start out?· What happened next?
21· ·assess reliability of claims pursuant to the        21· ·What happened after that?
22· ·trust distribution procedures by the settlement     22· · · · · · · · · Secrecy would be what did
23· ·trustee.                                            23· ·so-and-so say to you about telling people about
24· · · · · · · · · Do you remember those questions      24· ·this?· What were your own worries about telling
25· ·on cross-examination by Mr. Stoner?                 25· ·about this?· That would go to secrecy.


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                             ,
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·1· · · · · · · · · What finally made you come           ·1· · · · A.· ·I would need -- I would need a whole
·2· ·forward?· How did everybody find out about          ·2· ·lot more time to be able to answer that
·3· ·this?· That would go to disclosure.                 ·3· ·question.
·4· · · · · · · · · How did your family react to         ·4· · · · · · · · · I wasn't joking when I said I
·5· ·you?· How did your brothers and sisters, how        ·5· ·did two two-hour trainings with these
·6· ·did your mom -- like, more specific in the          ·6· ·attorneys -- and these were very experienced
·7· ·family -- after this came out?· How did your        ·7· ·attorneys -- on how to use these questions in
·8· ·friends react to you after this came out?           ·8· ·their depositions.
·9· · · · · · · · · You know, to be brief, that          ·9· · · · · · · · · So I think we're doing tip of
10· ·would be the type of questions that would need      10· ·the iceberg with that.· It would have to be in
11· ·to be asked.· But if you notice, they're all        11· ·much more depth, like a sitdown, you know,
12· ·open-ended.                                         12· ·really going through the phases and making sure
13· · · · Q.· ·Very much appreciated.                    13· ·that it was understood what these things mean.
14· · · · · · · · · And those open-ended questions       14· · · · · · · · · I don't think I could do that --
15· ·on the five factors that you outlined would         15· ·like in an answer for cross-examination, you
16· ·help the trustee assess whether the claim was       16· ·know, I don't think I can.
17· ·reliable, correct?                                  17· · · · Q.· ·And if the settlement trustee picked
18· · · · A.· ·That's correct.                           18· ·up the phone and called you and asked you to
19· · · · Q.· ·What questions would you suggest that     19· ·chat about these issues, would you be prepared
20· ·the trustee include in her questionnaire to         20· ·to do that?
21· ·assess the damages that the abuse claimant has      21· · · · A.· ·Of course.· Of course.
22· ·suffered and the severity of the damages?           22· · · · · · · · · MR. KORNFELD:· Thank you,
23· · · · A.· ·Let me think about that for a minute.     23· · · · Doctor.
24· ·Because the tests are so comprehensive.· It's       24· · · · · · · · · No further questions at this
25· ·hard to imagine not using them.                     25· · · · point.
                                              Page 287                                                 Page 289
·1· · · · · · · · · I guess you'd have to ask            ·1· · · · · · · · · THE WITNESS:· Thank you.
·2· ·open-ended questions as to what areas of your       ·2· · · · · · · · · THE COURT:· Thank you.
·3· ·life have been affected by your abuse, or how       ·3· · · · · · · · · Mr. Moxley.
·4· ·has your family life been affected?· How has        ·4· · · · · · · · · MR. MOXLEY:· Good afternoon,
·5· ·your sexual life been affected?· How has your       ·5· · · · Your Honor.
·6· ·educational efforts been affected?· How has         ·6· · · · · · · · · · · -· ·-· ·-
·7· ·your employment been affected?· Questions of        ·7· · · · · · · · E X A M I N A T I O N
·8· ·that nature.                                        ·8· · · · · · · · · · · -· ·-· ·-
·9· · · · · · · · · Basically, this is the strong        ·9· ·BY MR. MOXLEY:
10· ·part of the TDP itself is that -- remember that     10· · · · Q.· ·Good afternoon, Dr. Treacy.
11· ·it said all these different areas of impact?        11· · · · · · · · · THE COURT:· She can't see you
12· ·Basically, it's asking open-ended questions         12· · · · yet.· Oh, there you go.
13· ·about that -- those areas that could be             13· · · · · · · · · MR. MOXLEY:· Can you see me now,
14· ·potentially impacted.                               14· · · · Dr. Treacy?
15· · · · · · · · · And I guess you'd have to say        15· · · · · · · · · THE WITNESS:· I can.· I can see
16· ·how and to what extent, and you'd have to give      16· · · · your eyes.· That always helps.
17· ·some definition, or as you folks seem to use        17· · · · · · · · · MR. MOXLEY:· Excellent.· Good
18· ·the term "guidance," about how to quantify          18· · · · afternoon, Doctor.
19· ·whatever the thing was.                             19· · · · · · · · · Your Honor, I just have a few
20· · · · Q.· ·Thank you.· That's very helpful.          20· · · · questions for Dr. Treacy, if I may.
21· · · · · · · · · Besides these reliability and        21· · · · · · · · · THE COURT:· Yes, you may.
22· ·damages or impact questions on the                  22· · · · · · · · · MR. MOXLEY:· Thank you, Judge.
23· ·questionnaire, are there any other key              23· ·BY MR. MOXLEY:
24· ·questions that you would tell the settlement        24· · · · Q.· ·Dr. Treacy, on direct examination by
25· ·trustee to include on her questionnaire?            25· ·Ms. Warner you were shown JTX2205.


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
                                                                                                               ,
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·1· · · · · · · · · That was the Excel file that         ·1· · · · Thank you very much.
·2· ·Roux prepared at your request, correct?             ·2· ·BY MR. MOXLEY:
·3· · · · A.· ·Yes.                                      ·3· · · · Q.· ·Finally, Dr. Treacy, on direct, I
·4· · · · · · · · · MR. MOXLEY:· Okay.· I'd like to      ·4· ·believe you testified, of course, that you're
·5· · · · bring that up.                                 ·5· ·compensated for your work in this case, right?
·6· · · · · · · · · And, Ms. Warner, if I may, given     ·6· · · · A.· ·Yes.
·7· · · · you had highlighting added to that, I was      ·7· · · · Q.· ·Okay.· And you're being paid by the
·8· · · · hoping that your assistant could assist in     ·8· ·objecting insurers; is that right?
·9· · · · bringing that up with the highlighting         ·9· · · · A.· ·The checks that I've been getting say
10· · · · that was added.                                10· ·"Boy Scouts Defense Fund" -- "Boy Scouts of
11· · · · · · · · · MS. WARNER:· Yes.                    11· ·America Defense Fund."· That's the checks that
12· · · · · · · · · Mr. Spalding, please do so.          12· ·I've been receiving in payment.
13· · · · · · · · · MR. MOXLEY:· Thank you               13· · · · Q.· ·I see.
14· · · · Ms. Warner.                                    14· · · · · · · · · Let me direct you -- do you
15· ·BY MR. MOXLEY:                                      15· ·happen to have your expert report with you,
16· · · · Q.· ·Okay.· Dr. Treacy, you should see, on     16· ·Dr. Treacy?
17· ·your screen now, what's been marked as JTX2205.     17· · · · A.· ·It's on the other side of the table.
18· · · · · · · · · Do you see that file?                18· · · · · · · · · Do you want me to go get it?
19· · · · A.· ·I do.                                     19· · · · Q.· ·That's okay.
20· · · · Q.· ·Okay.· And you see that Column H          20· · · · · · · · · MR. MOXLEY:· What I can do
21· ·which is entitled "Percent claims with at least     21· · · · actually -- with the Court's permission, I
22· ·four key factors of abuse" is highlighted           22· · · · can share my screen just to bring that up
23· ·there?                                              23· · · · quickly, if I may.
24· · · · A.· ·Yes, I do.                                24· · · · · · · · · THE COURT:· That's fine.
25· · · · Q.· ·Okay.· And, Dr. Treacy, I believe, on     25· · · · · · · · · MR. MOXLEY:· Thank you, Judge.
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·1· ·direct, you testified that that column was          ·1· · · · · · · · · THE COURT:· You should be able
·2· ·particularly important to you.                      ·2· · · · to do it.
·3· · · · · · · · · Do you recall that?                  ·3· · · · · · · · · MR. MOXLEY:· Okay.· Thank you,
·4· · · · A.· ·I do.                                     ·4· · · · Your Honor.
·5· · · · Q.· ·And Column H there shows that             ·5· ·BY MR. MOXLEY:
·6· ·50 percent of the claims overall had at least       ·6· · · · Q.· ·Okay.· Dr. Treacy --
·7· ·four of the key factors of abuse, correct?          ·7· · · · A.· ·Let me switch glasses.
·8· · · · A.· ·Yes.                                      ·8· · · · Q.· ·Oh, sure.
·9· · · · Q.· ·Okay.· And Column H also shows that       ·9· · · · A.· ·Okay.· All right.
10· ·68 percent of penetration claims have at least      10· · · · Q.· ·Dr. Treacy, you see, on the screen
11· ·four of the key factors of abuse, correct?          11· ·now, it says "Affirmative Report of Eileen C.
12· · · · A.· ·That's correct.                           12· ·Treacy, PhD."
13· · · · Q.· ·Okay.· And, Dr. Treacy, you're aware      13· · · · · · · · · Do you see that?
14· ·that there are approximately 82,000 proofs of       14· · · · A.· ·I do see that.
15· ·claim alleging sexual abuse in this case; is        15· · · · Q.· ·I'll scroll down to paragraph 38 of
16· ·that right?                                         16· ·your report.
17· · · · A.· ·Yes.                                      17· · · · · · · · · You see there the section
18· · · · Q.· ·Okay.· So, Dr. Treacy, Column H on        18· ·"Retention and Compensation"?
19· ·JTX2205 tells us that approximately 41,000          19· · · · A.· ·Yes.
20· ·proofs of claim, based on the analysis that you     20· · · · Q.· ·And, Doctor, you specify there the
21· ·requested Roux do, have at least four of the        21· ·insurance companies that engaged you on behalf
22· ·key factors of abuse, correct?                      22· ·of themselves and other insurers objecting to
23· · · · A.· ·That's correct.                           23· ·plan confirmation.
24· · · · · · · · · MR. MOXLEY:· You can take that       24· · · · · · · · · Do you see that?
25· · · · down now, Ms. Warner, and your assistant.      25· · · · A.· ·Yes, I do.


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IN RE: BOY SCOUTS OF AMERICA and DELAWARE BSA LLC
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·1· · · · Q.· ·And that's accurate, Dr. Treacy?          ·1· ·the direct.
·2· · · · A.· ·Yes, it is.                               ·2· · · · · · ·And specifically she said she
·3· · · · Q.· ·Okay.                                     ·3· ·was not, in any fashion, opining on
·4· · · · A.· ·The checks are still coming from this     ·4· ·valuation of these claims.
·5· ·defendant's fund.                                   ·5· · · · · · ·MR. MOXLEY:· Your Honor, if I
·6· · · · Q.· ·Thank you, Doctor.                        ·6· ·may respond.
·7· · · · · · · · · Do you understand, Dr. Treacy,       ·7· · · · · · ·Ms. Warner asked Dr. Treacy
·8· ·that the objecting insurers issued policies --      ·8· ·specifically why she was so passionate
·9· ·insurance policies to the debtors to provide        ·9· ·about this issue.
10· ·coverage for abuse claims?                          10· · · · · · ·Your Honor, can you still hear
11· · · · A.· ·Yes, I can understand that.               11· ·me?
12· · · · Q.· ·Do you know that the objecting            12· · · · · · ·THE COURT:· I can.
13· ·insurers issued policies to the debtors that,       13· · · · · · ·MR. MOXLEY:· Okay.· Ms. Warner,
14· ·arguably, provide coverage for the abuse            14· ·on direct, asked the doctor why she was so
15· ·claims?                                             15· ·passionate about this issue, and she gave
16· · · · A.· ·Yes.                                      16· ·that as her answer.· It goes directly to
17· · · · Q.· ·And do you know how survivors of          17· ·what she was asked on direct.
18· ·sexual abuse in scouting would be compensated       18· · · · · · ·MS. WARNER:· Your Honor, I do
19· ·under the bankruptcy plan that's proposed here?     19· ·not believe the door was opened on that.
20· · · · A.· ·I saw the matrix and the TDP, so I        20· ·Her answer to the question was that she
21· ·saw that.· I didn't calculate it out, you know,     21· ·cared about fair claims and she cared
22· ·to try to figure what kind of compensation they     22· ·about fraudulent claims.
23· ·would get.· But I did see the matrix.               23· · · · · · ·She has not rendered an opinion
24· · · · Q.· ·Okay.· Let me ask you this:· Do you       24· ·on valuation.
25· ·know that abuse claims will be channeled to and     25· · · · · · ·THE COURT:· Sustained.
                                              Page 295                                                 Page 297
·1· ·ultimately paid by a settlement trust that's        ·1· · · · · · · · · MR. MOXLEY:· Thank you,
·2· ·established if the plan is confirmed?               ·2· · · · Your Honor.
·3· · · · A.· ·Yes, I did understand that.               ·3· · · · · · · · · And thank you, Dr. Treacy, for
·4· · · · Q.· ·Okay.· And do you know, Dr. Treacy,       ·4· · · · your time.
·5· ·what assets will be available to the trustee --     ·5· · · · · · · · · I have no further questions,
·6· ·I'm sorry -- to the settlement trust to pay         ·6· · · · Judge.
·7· ·survivors under the plan?                           ·7· · · · · · · · · THE WITNESS:· Thank you.
·8· · · · A.· ·No, I don't know that.                    ·8· · · · · · · · · THE COURT:· Any other
·9· · · · Q.· ·In your view, Dr. Treacy, should the      ·9· · · · cross-examination?
10· ·individuals who suffered abuse and can pass all     10· · · · · · · · · I don't see anyone.
11· ·the tests that you've outlined be compensated?      11· · · · · · · · · Any redirect, Ms. Warner?
12· · · · A.· ·Very much so.· Very much so.              12· · · · · · · · · MS. WARNER:· Yes, just a few,
13· · · · Q.· ·So if reliability of a claim can be       13· · · · Your Honor, if I may.
14· ·established, those individuals should be            14· · · · · · · · · THE COURT:· Yes.
15· ·compensated, correct?                               15· · · · · · · · · · · -· ·-· ·-
16· · · · A.· ·Yes.· The legitimate victims should       16· · · · · · · · E X A M I N A T I O N
17· ·definitely be compensated.                          17· · · · · · · · · · · -· ·-· ·-
18· · · · Q.· ·And I believe, on direct, Dr. Treacy,     18· ·BY MS. WARNER:
19· ·you testified that legitimate victims should be     19· · · · Q.· ·Now, Dr. Treacy, Mr. Stoner, on
20· ·well compensated; is that right?                    20· ·cross, put out Article VII of the TDP, which is
21· · · · A.· ·Yes, it is right.                         21· ·the new TDP filed in February of 2022.
22· · · · Q.· ·How would you define "well                22· · · · · · · · · You understand that?
23· ·compensated"?                                       23· · · · A.· ·Yes.
24· · · · · · · · · MS. WARNER:· Objection,              24· · · · Q.· ·And is it your understanding that the
25· · · · Your Honor.· This is beyond the scope of       25· ·settlement trustee is not required, it's not


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·1· ·mandatory to conduct those examinations that he     ·1· ·your experience -- that your experiences was
·2· ·asked you about?                                    ·2· ·atypical, and I think you said that your cases
·3· · · · A.· ·That's correct.                           ·3· ·were at the top of the curve.
·4· · · · Q.· ·On cross-examination, you were asked      ·4· · · · · · · · · Do you have an opinion about
·5· ·if the Boy Scouts had settled cases before the      ·5· ·what percentage of false or unreliable
·6· ·bankruptcy proceedings without interviews and       ·6· ·allegations of child sexual abuse are typical?
·7· ·testing.                                            ·7· · · · A.· ·I don't think that -- there's been
·8· · · · · · · · · Do you recall that?                  ·8· ·research on this directly going to CPS and law
·9· · · · A.· ·Yes, I do.                                ·9· ·enforcement.· And that research was done by the
10· · · · Q.· ·Did you have an understanding that,       10· ·American Council of Conciliators and another
11· ·prior to the bankruptcy proceeding, certain of      11· ·study by Jones out in Colorado.
12· ·those claims were actually in litigation?           12· · · · · · · · · And they had found, in
13· · · · A.· ·I had no knowledge really about any       13· ·children -- in children -- this is not adults,
14· ·past litigation.                                    14· ·going back -- in children, the rate of false
15· · · · Q.· ·Does the fact that claims were            15· ·report was around 5 and 16 percent.
16· ·settled before the bankruptcy with allegedly no     16· · · · Q.· ·And what about with regard to what
17· ·interviews and testing change your opinions         17· ·you said on direct, that adult survivors
18· ·about the best practices to evaluate the            18· ·perceive sexual abuse through the lens of when
19· ·reliability of -- and impact of the 82,000-plus     19· ·they were a child?
20· ·claims that are now involved postbankruptcy?        20· · · · A.· ·That's how it's incorporated.· Yes,
21· · · · A.· ·No.· No, it doesn't change my             21· ·that's how it's incorporated into their memory
22· ·opinion, because I've been involved with a lot      22· ·system.
23· ·of institutions that had to create change to        23· · · · Q.· ·And so, on that basis, is it your
24· ·properly deal with victims before.                  24· ·view that the possibility of false allegations
25· · · · Q.· ·You were asked on cross about the         25· ·by adult claimants are exacerbated by these
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·1· ·proofs of claim.                                    ·1· ·secondary gain motives that you described?
·2· · · · · · · · · You recall that?                     ·2· · · · A.· ·Exactly.· Yes, I do.
·3· · · · A.· ·Yes.                                      ·3· · · · · · · · · I teach, and I will even bring
·4· · · · Q.· ·Do you have an opinion whether it is      ·4· ·this tomorrow.· I teach that, in every single
·5· ·important for claimants to sign these proofs of     ·5· ·sex abuse case, people should always be saying
·6· ·claim in this proceeding?                           ·6· ·to themselves "What else could be going on here
·7· · · · A.· ·Yes, I do have an opinion about that.     ·7· ·besides sexual abuse?· What other motive could
·8· · · · Q.· ·What's your opinion?                      ·8· ·be going on here besides sexual abuse?"
·9· · · · A.· ·That when the claimant is the person      ·9· · · · · · · · · And so that is the reason that
10· ·who completes the form and signs the form under     10· ·I'm bringing this up here because there's a
11· ·oath, it makes the document more reliable.          11· ·clear secondary gain issue, a lot of money.· So
12· · · · Q.· ·Dr. Treacy, you were also asked, on       12· ·that certainly needs to be considered.
13· ·cross, about your experience with regard to the     13· · · · Q.· ·So you were asked on cross, by
14· ·reliability of child sexual abuse claims.· You      14· ·several people, about the expense or the cost
15· ·were asked that by several of the persons that      15· ·of the recommendations that you have made here
16· ·crossed you.                                        16· ·to the Court, right?
17· · · · · · · · · You recall, on direct, that you      17· · · · A.· ·I have.
18· ·testified that 40 to 45 percent of claims, in       18· · · · Q.· ·Now, did you read Dr. Conte's
19· ·your experience, are not reliable?· Do you          19· ·deposition?
20· ·remember you said that?                             20· · · · A.· ·I did read his deposition.
21· · · · A.· ·I didn't say "claims."· I said            21· · · · Q.· ·Did you watch the clip of his
22· ·"cases."                                            22· ·deposition that was played to Judge Silverstein
23· · · · Q.· ·Correct.· Thank you for --                23· ·earlier this week?
24· ·psychologists refer to cases.· I understand.        24· · · · A.· ·Yes, I did.
25· · · · · · · · · Now, you also said that it was       25· · · · Q.· ·And did you see that Dr. Conte -- by


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                                                                                                             ,
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·1· ·the way, do you know Dr. Conte?                     ·1· · · · · · · · · And so my question to you,
·2· · · · A.· ·Yes, I do know Dr. Conte.· I was          ·2· ·Dr. Conte, based upon what you've testified to
·3· ·actually a participant in one of his early          ·3· ·to today --
·4· ·studies of expert evaluations in sexual abuse       ·4· · · · A.· ·Dr. Treacy.
·5· ·cases dating back in the '80s.· I've attended       ·5· · · · Q.· ·Excuse me.· Sorry about that.
·6· ·lectures that he's presented at conferences.        ·6· · · · · · · · · So based upon what you testified
·7· ·I'm aware of his literature.· He's published        ·7· ·today, Dr. Treacy, in your view, based upon
·8· ·extensively in this area, and he's been a           ·8· ·what you've testified that are best practices
·9· ·leader in the sexual abuse world.                   ·9· ·in the field of applied psychology and child
10· · · · Q.· ·Do you have a high professional           10· ·sexual abuse, that if up to 1/23 of the trust
11· ·regard for Dr. Conte in the field of child          11· ·assets here had to go to assess the true and
12· ·sexual abuse?                                       12· ·valid claims, in your view, as a practicing
13· · · · A.· ·I do.                                     13· ·psychologist and a forensic evaluator of child
14· · · · Q.· ·Now, did you see, in his deposition       14· ·sexual abuse for over 45 years, do you think
15· ·and in the clip that was played for the Court,      15· ·that's a good practice?
16· ·his concern about the number of potential           16· · · · A.· ·I do.· I do.· I know there's a lot of
17· ·fraudulent claimants in the bankruptcy process      17· ·cases, and I know this is complex, but it
18· ·here?                                               18· ·doesn't mean that you should not do the highest
19· · · · A.· ·Yes, I did see that.                      19· ·standard that you can do.
20· · · · Q.· ·Do you share his concern?                 20· · · · · · · · · MS. WARNER:· I have no further
21· · · · A.· ·I absolutely share his concern. I         21· · · · questions.
22· ·worry about those fraudulent cases preventing       22· · · · · · · · · MR. MOXLEY:· Your Honor, if I
23· ·the real victims from getting the compensation      23· · · · may have brief recross on the redirect.
24· ·that they deserve.                                  24· · · · · · · · · THE COURT:· Okay.· Mr. Moxley.
25· · · · Q.· ·Are you aware of -- you were asked        25· · · · · · · · · MR. MOXLEY:· Your Honor, I
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·1· ·some questions on cross about other                 ·1· · · · apologize for not putting my hand up.
·2· ·bankruptcies involving child sexual abuse.          ·2· · · · · · · · · It's Cameron Moxley of Brown
·3· · · · · · · · · Do you recall that?                  ·3· · · · Rudnick on behalf of the coalition.
·4· · · · A.· ·I do.                                     ·4· · · · · · · · · Your Honor, Ms. Warner, on
·5· · · · Q.· ·Dr. Treacy, in your general knowledge     ·5· · · · redirect, just asked about fair
·6· ·of sexual abuse cases that have, unfortunately,     ·6· · · · compensation.· So I'd like, if I could, to
·7· ·arisen in our society, are you aware of any         ·7· · · · just ask my question.
·8· ·other situation where, prior to bankruptcy,         ·8· · · · · · · · · · · -· ·-· ·-
·9· ·there were less than 2,000 claims and,              ·9· · · · · · · · E X A M I N A T I O N
10· ·postbankruptcy, there were over 82,000 claims       10· · · · · · · · · · · -· ·-· ·-
11· ·brought?                                            11· ·BY MR. MOXLEY:
12· · · · A.· ·No, I'm not aware of anything like        12· · · · Q.· ·Dr. Treacy, I believe, when you were
13· ·that.                                               13· ·asked questions by Ms. Warner previously today,
14· · · · Q.· ·Well, you testified also that you         14· ·you had referenced that legitimate victims
15· ·have a concern about fairly compensating real       15· ·should be well compensated.
16· ·victims, right?                                     16· · · · · · · · · Do you recall saying that?
17· · · · A.· ·Absolutely.                               17· · · · A.· ·I do.
18· · · · Q.· ·Are you aware that, in this               18· · · · Q.· ·And what, in your view, is fair
19· ·bankruptcy proceeding, the settlement trust         19· ·compensation for someone who has been sexually
20· ·that have you've been asked a lot of questions      20· ·abused?
21· ·about today will be funded with over                21· · · · · · · · · MS. WARNER:· Objection.
22· ·$2.7 billion?                                       22· · · · Objection.
23· · · · A.· ·No, not until you said that.              23· · · · · · · · · Dr. Treacy.
24· · · · Q.· ·I'm going to represent to you that        24· · · · · · · · · Objection.· At no time, in
25· ·that's the situation here.                          25· · · · direct or redirect, was Dr. Treacy asked


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·1· ·any question about specific valuation, and          ·1· · · · · · · · · THE WITNESS:· No, I can't say
·2· ·that's the question that Mr. Moxley is              ·2· · · · that because I don't do a whole lot of
·3· ·trying to ask.· It's beyond her opinion,            ·3· · · · these civil cases.· Remember, I'm in
·4· ·and the door has not been opened.                   ·4· · · · family court.· I'm in criminal court. I
·5· · · · · · ·MR. MOXLEY:· Your Honor, I renew          ·5· · · · don't do a lot of these cases, so I'm
·6· ·my request to be able to ask that                   ·6· · · · lacking knowledge.
·7· ·question.                                           ·7· · · · · · · · · And I'm not trying to skirt
·8· · · · · · ·THE COURT:· I'm going to                  ·8· · · · around your question, Mr. Moxley.· I just
·9· ·overrule the objection based on the last            ·9· · · · don't have an answer.
10· ·question that was asked on direct.                  10· · · · · · · · · MR. MOXLEY:· Thank you,
11· · · · · · ·Go ahead.                                 11· · · · Dr. Treacy.
12· · · · · · ·THE WITNESS:· I do not do this            12· · · · · · · · · Thank you, Judge.
13· ·type of work, so -- I can't see you,                13· · · · · · · · · THE COURT:· Thank you.
14· ·Mr. Moxley.                                         14· · · · · · · · · Mr. Stoner.
15· · · · · · ·MR. MOXLEY:· Oh.· Dr. Treacy,             15· · · · · · · · · MR. STONER:· Yes.
16· ·can you see me now?                                 16· · · · · · · · · · · -· ·-· ·-
17· · · · · · ·THE WITNESS:· Yes, I can.· It's           17· · · · · · · · E X A M I N A T I O N
18· ·difficult for me if I can't make eye                18· · · · · · · · · · · -· ·-· ·-
19· ·contact.· That's why I can't be a Zoom              19· ·BY MR. STONER:
20· ·teacher.                                            20· · · · Q.· ·Dr. Treacy, I believe that you were
21· · · · · · ·I can't give a value because I            21· ·asked questions during your redirect regarding
22· ·don't know how old people -- you know, I            22· ·the potential for false claims in this sample
23· ·don't do evaluation.· When I get asked to           23· ·set.
24· ·do that, you know what I generally say?             24· · · · · · · · · Do you recall that?
25· ·That's beyond my competency.                        25· · · · A.· ·Yes, I do.
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·1· · · · · · · · · I'm not an economist.· I'm not       ·1· · · · Q.· ·The clinical interviews that you've
·2· · · · somebody who figures these things out, and     ·2· ·recommended be incorporated into the TDP are
·3· · · · I don't even know what the norm would be       ·3· ·not able to determine whether or not something
·4· · · · for somebody who had gone through and          ·4· ·is a false claim, correct?
·5· · · · maintained secrecy on this all these years     ·5· · · · A.· ·Oh, you can pretty much say if
·6· · · · and the effect that it could have on           ·6· ·something is or is not consistent with sexual
·7· · · · people.                                        ·7· ·abuse.· My report -- my line in my report, it's
·8· · · · · · · · · And I believe there will be          ·8· ·my expert opinion that, if I'm dealing with a
·9· · · · differential effects across -- you know,       ·9· ·child, the child's statements, behavior, and
10· · · · you could have two sibs -- I have two sibs     10· ·affect are consistent with sexual abuse or are
11· · · · at present who have very different             11· ·not consistent with sexual abuse.
12· · · · outcomes from going through very similar       12· · · · · · · · · So we do get to consistency with
13· · · · abuse.                                         13· ·sexual abuse, which is reliability.
14· · · · · · · · · So I don't feel -- I wouldn't        14· · · · Q.· ·Yes.· But you testified that you
15· · · · feel that I can testify as an expert to        15· ·cannot state whether or not the abuse occurred
16· · · · your question.                                 16· ·through a clinical interview, correct?
17· ·BY MR. MOXLEY:                                      17· · · · A.· ·That's correct.
18· · · · Q.· ·Dr. Treacy, have you seen a situation     18· · · · Q.· ·And you cannot use the testing to
19· ·ever where you've been made aware of                19· ·determine whether or not a claim is fraudulent,
20· ·compensation that a sexual abuse victim has         20· ·correct?
21· ·received and you thought to yourself that was a     21· · · · A.· ·Well, you can use the testing for
22· ·fair amount of compensation for those damages       22· ·that if you have the validity scales indicating
23· ·done?                                               23· ·that somebody is malingering.
24· · · · A.· ·No, I haven't -- I'm sorry.               24· · · · Q.· ·Whether or not somebody is
25· · · · · · · · · MS. WARNER:· Go ahead.· Answer.      25· ·malingering does not address whether or not the


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·1· ·abuse, in fact, occurred, correct?                  ·1· · · · · · ·MR. DOREN:· Good evening,
·2· · · · A.· ·It does not -- no, it does not have a     ·2· ·Your Honor.· It is 5:21.· Just so
·3· ·one-to-one with that.· You're correct.              ·3· ·the Court has all the data points
·4· · · · Q.· ·I believe that you testified that --      ·4· ·necessary to decide where it stands for
·5· ·in your deposition that the basis for your view     ·5· ·the evening, we do have a 30-minute video
·6· ·that there may be false claims in this sample       ·6· ·option available of another witness.· Or,
·7· ·was based on the existence of secondary             ·7· ·obviously, if the Court prefers to adjourn
·8· ·motive -- secondary financial gain motive and       ·8· ·for the evening...
·9· ·the volume of claims.                               ·9· · · · · · ·THE COURT:· Okay.· Well, the
10· · · · · · · · · Does that sound correct?             10· ·effort is good, so let's go with the
11· · · · A.· ·I don't think I said "the value of        11· ·30-minute video.
12· ·claims."                                            12· · · · · · ·MR. DOREN:· Very good,
13· · · · Q.· ·I'm sorry.· The volume of claims.         13· ·Your Honor.
14· · · · A.· ·I'm sorry.· Yes, that is correct.         14· · · · · · ·The next witness is Mr. Jonathan
15· · · · Q.· ·And did you not consider any other        15· ·Schulman.· Mr. Schulman is a partner at
16· ·factors for that opinion, correct?                  16· ·Slater Slater Schulman.
17· · · · A.· ·Well, I considered that there were a      17· · · · · · ·Mr. Schulman's law firm is a
18· ·couple of thousand claims before the                18· ·member of the coalition and, according to
19· ·bankruptcy, and then there was 82,000 claims        19· ·the 11th mediator's report, represents
20· ·with the bankruptcy.· I considered that.            20· ·14,170 claimants in this action.
21· · · · Q.· ·And you have not been -- you have not     21· · · · · · ·Mr. Schulman personally signed
22· ·analyzed whether any specific claims are            22· ·approximately 400 proof of claim forms.
23· ·fraudulent in this case, correct?                   23· · · · · · ·Mr. Schulman was deposed on
24· · · · A.· ·That's correct.                           24· ·February 1, 2022.· And we now tender
25· · · · Q.· ·And you have not identified any           25· ·Mr. Schulman's testimony.
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·1· ·specific claims that are fraudulent in this         ·1· · · · · · · · · THE COURT:· Thank you.
·2· ·case, correct?                                      ·2· · · · · · · · · · · · · ·-· ·-· ·-
·3· · · · A.· ·That's correct.                           ·3· · · · · · · · · (Whereupon, a video clip was
·4· · · · Q.· ·And you have never -- have you ever       ·4· · · · · · · ·played for the record.)
·5· ·been involved in any scouting cases involving       ·5· · · · · · · · · · · · · ·-· ·-· ·-
·6· ·sexual abuse?                                       ·6· · · · Q.· ·Good morning, Mr. Schulman.· My name
·7· · · · A.· ·No.· This is the first case that I        ·7· ·is Alec Zadek.· I represent Liberty Mutual
·8· ·had involving the Boy Scouts.· But, as I said,      ·8· ·Insurance Company, and I'll be deposing you
·9· ·I don't do a lot of civil work.                     ·9· ·today.
10· · · · Q.· ·In your -- in the civil work that         10· · · · · · · · · Slater Slater Schulman
11· ·you've done, have you ever determined that a        11· ·represents more than 15,000 people who have
12· ·campaign was a false claim due to a secondary       12· ·filed proof of claims in the Boy Scout
13· ·gain motive for financial gain?                     13· ·bankruptcy proceeding; is that right?
14· · · · A.· ·Yes -- well, due to only financial        14· · · · A.· ·I believe it's between 14,000 and
15· ·gain?· No.· No, I have not.                         15· ·15,000.
16· · · · · · · · · MR. STONER:· Okay.· No more          16· · · · Q.· ·Is it fair to state that the training
17· · · · questions, Your Honor.                         17· ·that your firm provided to the
18· · · · · · · · · THE COURT:· Thank you.               18· ·paraprofessionals for interacting with
19· · · · · · · · · Ms. Warner, anything further?        19· ·potential claimants in this proceeding was
20· · · · · · · · · MS. WARNER:· Nothing further.        20· ·based on obtaining information necessary to
21· · · · · · · · · THE COURT:· Thank you.               21· ·complete the proof of claim forms that would be
22· · · · · · · · · Thank you, Dr. Treacy.· You're       22· ·filed in this proceeding?
23· · · · excused.                                       23· · · · A.· ·Certainly in part.
24· · · · · · · · · THE WITNESS:· Thank you, Judge.      24· · · · Q.· ·And Slater Slater Schulman prepared
25· · · · · · · · · Mr. Doren.                           25· ·those training materials based on its


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